          Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 1 of 76 PageID #:1                           4z-



                             IN THE UNITED STATES DISTRICT COURT                          FIhED
                            FOR THE NORTHERN DISTRICT OF ILLINOS
                                       EASTERN DIVISION                                    DEC o   2   20tw
                                                        s
EDWIN GARCIA                                            s                                 THOMAS G. BRUTON
                                                                                      CLERK, U.S. DISTRICT COURT
                Plaintffi                               $
                                                        s
vs                                                      $
                                                                   1:19-cv-7870
                                                                   iuOg.= Robert il' Elow' Jt Gilbert
                                                        $
NATIONSTAR MORTGAGE LLC
DBA MR. COOPER
                                                        $
                                                        s          if,g=i"aot" Judge: 'lethey T'
                                                                                                 ,
                                                                                                   -
            Defendant.                                  $
                                                        $
                                                        $        TRIAL BY JURY DEMANDED
                                                        s

           COMPLAINT FOR VIOLATIONS OF THE TELEPHONE CONSUMER
                     PROTECTION ACT 47 U.S.C. 5227 et seq.


                                         JURISDICTION

l. This court has jurisdiction    under 47 U.S.C. $ 227(bX3) and 28 U.S.C $1331.

2.   All conditions precedent to the bringing of this action       have been performed.

                                                   PARTIES

3. The Plaintiff     in this lawsuit is Edwin Garcia, a natural person, who resides in Cook County,

     Illinois

4.   The Defendant in this lawsuit is Nationstar Mortgage LLC DIBIA Mr. Cooper a debt

     collection company with offices at 8950 Cypress Waters Blvd Coppell, TX 75019.

                                                     VENUE

5.   The occurrences which give rise to this action occurred in Cook County, Illinois and Plaintiff

     resides in Cook County, Illinois.

6. Venue is proper in the Northern District of Illinois Eastern Division.



                                 Complaint for Violations of the TCPA Page   I of 8
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                                             FACTUAL ALLEGATIONS

7.    On or about September 19,2017 Mr. Cooper A.K.A. Nationstar Mortgage made the first of 56

      calls to Plaintiff s wireless phone number 773-297-6519 from phone number (888)-811-5279

      which was one of 4 different numbers that Mr. Cooper A.K.A Nationstar Mortgage used to

      place calls to Plaintiff.

8.    The numbers that Mr. Cooper           A.K.A Nationstar Mortgage used to place calls to Plaintiff

      were (8 86)   3I   6-2432, (8 8 8)8 1 l -527 9, (87 7)   87 3 -7 49   l,   (87 7)7 83 -7 99   l,   (8   8   8)a80-2a32   ;


9.    Mr. Cooper A.K.A Nationstar Mortgage made at least 56 individual calls to Plaintiff                                      s


      wireless phone beginning September 19,2017 and continuing through December 14,2017

      using ATDS capable equipment.

10. The calls made to PlaintifPs wireless phone were not                    for an emergency purpose and were

      made without consent to do so, express or otherwise, of the Plaintiff having been given.

11.   Mr. Cooper A.K.A Nationstar Mortgage called Plaintiff s wireless phone number 773-297-

      6519, on the following dates and times from the following numbers:

      l)  September 19,2017 at 6:56 PM CST from 866-316-2432;
      2) September 20,2017 at 3:18 PM CST from 888-8ll-5279;
      3) September 21,2017 at 5:31 PM CST from 888-8ll-5279;
      4) September 23,2017 at2:47 PM CST from 888-8ll-5279:
      5) September 26,2017 at 3:59 PM CST from 888-8ll-5279;
      6) September 27 ,2017 at 3:44 PM CST from 888-8ll-5279;
      7) September 28,2017 atl.44 PM CST from 888-316-2432;
      8) September 29,2017 at3:29 PM CST from 888-8ll-5279;
      9) October 2.2017 at 4:10 PM CST from 888-8ll-5279;
      l0) October 3.2017 at3:02 PM CST from 888-8ll-5279;
      11) October 5.2017 at 5:1 1 PM CST from 888-8ll-5279;
      12) October 6.2017 at2:40 PM CST from 888-8ll-5279;
      13) October 9.2017 at 3:56 PM CST from 888-8ll-5279;
      14) October 10.2017 at 5:38 PM CST from 866-316-2432;
      15) October ll.2017 at3:54 PM CST from 888-8ll-5279;
      16)October 12.2017 at3:02 PM CST from 888-8ll-5279;



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l7)Octoberl3.2017 at6,53 PM CST from 866-316-2432;
18) OctoberlT .2017 at 4:19 PM CST from 888-8ll-5279;
19)Octoberl8.2017 atl:26 PM CST from 888-8tl-5279;
20)Octoberl9.2017 at5:07 PM CST from 866-316-2432:,
21)October20.2017 at 1:51 PM CST from 888-8ll-5279;
22)October2l.2017 at2:33 PM CST from 888-8ll-5279;
23) October 23. 2017 at 2:ll PM CST from 888-8ll-5279;
24)October24.2017 at 1:19 PM CST from 888-8ll-5279;
25) October 26.2017 at 4:13 PM CST from 888-8ll-5279;
26) October 27 .2017 at 3:20 PM CST from 888-8ll-5279;
27)October30.2017 at2:29 PM CST from 888-8ll-5279;
28) October 31.2017 at 4:31PM CST from 866-316-2432;
29) October 2.2017 at 4:10 PM CST from 888-8ll-5279;
30)November 2,2017 at2,34PM CST from 888-811-5279;
3 I ) November 3, 2017 at 1 1 :00 AM CST from 888-8ll-5279;
32) November 3, 2017 at I 1 :00 AM CST from 888-8ll-5279;
33) Novernber 3, 2017 at I l:00 AM CST from 888-8ll-5279;
34) November 3,2027 at 1l:00 AM CST Test Message account alert to call 866-316-2432
       (we are a debt collector)
3                              PM CST from 8 66-3 I 6'2432;
    5) November 4, 20 17 at 2:28
36) Novemb er 8,2017 at 4:39 PM CST from 888-8ll-5279;
37)November 13, 2017 at 1:30 PM CST from 877-783-7991;
38)November 13, 2Ol7 at 1:30 PM CST Test Message Mr. Cooper account alert to call 866-
    316-2432 (Please call us)
39)Novemberl7,2017 at2:35 PM CST from 888-8ll'5279;
40)November 18, 2017 at2:30 PM CST from 888-811-5279;
4l)November 21,2017 at2:16PM CST from 888-81 L'5279;
42) Novemb er 22,2017 at 1 : 15 PM CST from 866-316'2432;
43)November}4,2017 at 10:50 AM CST from 888-8ll-5279;
44) November 24,2017 at 10:50 AM CST Test Message Mr. Cooper account alert to call
    866-316-2432 (Please call us)
45)December 5, 2017 at l0:50 AM CST from 888-8ll-5279
46) December 5, 2017 at 1:25 PM CST Test Message Mr. Cooper account alert to call 866-
    316-2432 (Please call us)
47) Decemb er 14,2017 at l:27 PM CST Test Message Mr. Cooper account alert to call 866-
    316-2432 (Please call us, we are a debt collector)
48) February 21,2018 at 1 I :30 AM CST from 888-480-2432;
49) December 4,2017 TestMessage from877-783-7491(we are a debt collector);
50)December 5, 2017 at l:25 PM CST Test Message from877-783-7491to call 866-316-
    2432 (we are a debt collector);
51)December 6,2017 atl:27 PM CST Test Message from 877-783-7491 to call 866-316-
    2432 (we are a debt collector);
52)November 3, 2017 at l1:00 AM CST Test Message from 877-783-7491 to call 866-316'
    2432 (we are a debt collector)
53)November 13, 2017 at 1:30 PM CST Test Message from877-783'7491to call 866-316-
    2432 (we are a debt collector);



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      54)November24,2017 at 10:50 AM CST Test Message from 877-783-7491 to call 866-316-
          2432 (we are a debt collector)
      55)November2,2017 at 1:30 PM CST Test Message from 877-783-7491 to call 866-316-
          2432 (we are a debt collector);
      56) On February 21,2018 the Plaintiff answered a call from 888-480-2334 it was the
          customer representative from Nationstar Mortgage DBA Mr. Cooper by the name of
          Jessica that conversation lasted approx. 5 minutes which is supported by page l5 of the
          Sprint phone log at ll.28 am. That conversation was being recorded by Nationstar
          Mortgage and the Plaintiff will be requesting a copy of the transcript and the recording to
          show that the representative showed total disregard for the telephone consumer protection
          act, regarding the Plaintiff s lDo Not call list at the Mortgage servicing company.

12. Onthe several occasions when Plaintiff would answer Defendant's calls no one would say

      anything and there would be only dead air.

13. On a number of occasions Defendant would leave a prerecorded voicemail message

      referencing an account number 0608275830.




14.   Plaintiff at or near the time each of the calls was placed to his wireless phones by the

      Defendant made handwritten notes of all call details including but not limited to the date,

      time, whether he answered the call and what was said by the caller              if anything, what   he said

      or whether a voicemail message was left.

15. Upon information and good-faith belief, the telephone calls identified above were placed to

      Plaintiff s wireless phone number using an automatic telephone dialing system (ATDS)

      andlor used an artificial or prerecorded voice.

16. Upon information and belief, Defendant placed the calls to the                Plaintiff identified above

      voluntarily.

17. Upon information and belief, Defendant placed the calls to the                Plaintiff identified above

      under its own free   will.




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18. Upon information and      belief the Defendant      had knowledge that         it was using an automatic

      telephone dialing system to place each of the telephone calls identified above.

19. Upon information and belief, Defendant intended to use an automatic telephone dialing

      system to place each of the telephone calls identified above.

20. Upon information and belief, Defendant maintains business records that show all calls

      Defendant placed to Plaintiff s wireless telephone number.

21. At the times that all of the above identified calls were received on his wireless phone            Plaintiff

      was the subscriber to the called number, was the sole person having custody of said phone

      and paid for the airtime for the called phone number.

22. On February 21,2018 the Plaintiff received as call from Mr. Cooper from phone number

      888-480-2432. When the Plaintiff answered the call a customer representative by the name

      of Jessica was on the line when the Plaintiff asked her to provide her ID, she refused to

      provide the Plaintiff with the requested information. The Plaintiff then informed Jessica that

      he was on the do not call list from previously revoking express consent to place calls to the

      plaintifls call phone number 773-297-6519.         She stated that Mr. Cooper aka Nationstar

      Mortgage can place any calls at any time to my cell phone any time they wish. I then

      informed customer representative Jessica that she was in violation of the Telephone

      Consumer Protection Act. She continued to state that she can call my cell phone any time she

      wants. Please (SEE EXHIBIT A) affrdavit.

23.The Plaintiff sent the Defendant several communications regarding revoking the express

      consent to place phone calls to the   Plaintiff s cell phone. Please SEE EXHIBIT B and C).

24.   Plaintiff s claims herein are brought timely within the four-year statute of limitations under

      the TCPA.




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25. A. Plaintiff Did Not Give "Prior Express Consent" Under the TCPA

   The TCPA makes it unlawful for any party to make a non-emergency call, using an

   automatic telephone dialing system or artificial prerecorded voice, to any cellular telephone

   number, unless the call in "made vdrththe prior express consent of the called party[.]" See 47

   u.s.c.   $   227(b)(r)(Axiii).

       26. The calls received by Plaintiff were extremely initating                    and disruptive as he is a

            dispatcher for a trucking company and he must remain focused on the orders at all

            times during working hours without distraction or intemrption. Plaintiff received the

            calls from Nationstar doing business as Mr. Cooper precisely during working hours,

            aggravating and disruptive at numerous critical times when he was working.




                                                       COUNT        I
                     VIOLATIONS OF'THE TCPA 47 U.S.C.                          8   227&XlXAXiii)

2T.Plaintiff repeats and re-alleges each and every allegation stated above.

28. Defendant's aforementioned conduct violated the TCPA, 47 U.S.C. 5 227 et. seq.




29.Defendant Mr. Cooper aka Nationstar committed over 56 separate violations of 47 U.S.C.

   $227(b)(lXA) and Plaintiff is entitled to damages of $1500 per violation pursuant to 47

   u.s.c. $227(bx3xB).

30. Defendant Mr. Cooper      A.K.A. Nationstar has demonstrated willful or knowing non-

   compliance with 47 U.S.C. $227(bXl)(A) The last 55 calls are subject to treble damages

   pursuant to 47 U.S.C. 9227(b)(3) as they were intentional.




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31. Defendant Mr. Cooper AKA Nationstar has demonstrated willful or knowing non-

   compliance wth47 U.S.C. $227(bX1)(A) by calling the Plaintiff s number, which is

   assigned to a cellular telephone service. The Plaintiff has never given Mr. Cooper           A.K.A

Nationstar permission to call the Plaintiff s cell phone. Plaintiff is entitled to damages of $1500

   per violation pursuant to 47 U.S.C. $227(bX3)(B).

32. EXHIBIT A Affrdavit regarding customer service Representative Jessica.

33. IEXHIBIT B correspondence revoking express consent to call Plaintiff.

34. EXHIBIT C correspondence revoking express consent to call Plaintiff.

35. EXHIBIT D correspondence regarding the unauthorized and illegal phone calls.

36. EXHIBIT E photo copies of the text messages to the Plaintiff s cell phone and calls.

37. EXHIBIT F call logs regarding the Defendants calls to the Plaintiff s cell phone entries

38. EXHIBIT G The Plaintiff sprint phone incoming phone logs.




   WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       a. Adjudging        that Mr. Cooper, A.K.A Nationstar Mortgage violated the TCPA 47

            U.S.C.   S   227 et seq.

       b.   Awarding Plaintiff statutory damages pursuant to 47 U.S.C . 5 227(b)(3)(B)(C)              of

            $500 for the first call and $1500 for each call thereafter made to PlaintifPs wireless

            phone as knowing and/or willful violations;

       c.   Awarding Plaintiff any fees and costs incurred in this action;

       d.   Awarding Plaintiff any post-judgment interest as may be allowed under the law;

            Awarding such other and further relief          as the   Court may deem just and proper.




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                           DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands   a   trial by jury of all issues so triable as a matter of law.




                                                Respectfully Submified,



                                                 €-2.
                                                Edwin Garcia
                                                5179 Elmwood road
                                                Oak Forest,lL 60452
                                                773-297-6519
                                                Edwingarc ial 9 8 I @y ahoo. com




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                          UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS




                                       AFFIDAVIT
STATE OF: ILLINOIS
COLINTY OF: COOK
         BEFORE ME personally appeared Edwin Garcia, Plaintiff, who being by me first
duly sworn and identified in accordance with Illinois law, deposes and says:
1.   My name is Edwin Garcia Plaintiff, herein.
2.lhave read and understood the attached foregoing complaint filed herein,     and each fact
alleged therein is true and correct of my own personal knowledge.

                                                       ,
                                                               ,t-
FURTHER THE AFFIANT SAYETH NAUGHT.

                                                  fl
                                              Edwin Garcia, Affiant


                                     me this 27rH day of November 2019.



                                                       My commission expires:
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              EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS



                                             AFFIDAVIT


 STATE OF: ILLINOIS
 COLINTY OF: COOK


           BEFORE ME personally appeared Edwin Garcia, Plaintiff, who being by me first
 duly sworn and identified in accordance with Illinois law, deposes and says:


 1.   My name is Edwin Garcia Plaintiff, herein.
 2. On or about February 21,2018 at 1l:30 am I received a call from Nationstar Mortgage
 aka Mr. Cooper from phone number 888-480-2432, after speaking to the customer

 service agent named Jessica she refused to provide me her agent ID number when I
 informed her that I previously revoked express consent to call me or enter my       ri,r-b.,
into an automatic dialing machine. lShe stated to me that Nationstar can call me anytime
and just because my name was on the do not call list does not matter. I then informed

Jessica that she was in       violation of the telephone consumer protection act. She stated
again that Nationstar can call me anytime they want to.

FURTHER THE AFFIANT SAYETH NAUGHT.

                                                     {
                                                    Edwin Garcia, Affiant

SWORN TO and subscribed before me this February 21,2018.



                                                               .41 P *f eo>D
                                                           My commission expires:


            "OFFICIALSEAI.:
         NANCY CRIMSJOHNSON
       NOTARY PUBLIC, STATE OF ILUNOIS
         COMMISSION DPIRES
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              EXHIBIT B
                                            12/02/19 Page:7
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                                                      Page 13  of 76 PageID #:13


 EDWIN GARCIA
    ELMWOOD RD
 5179
 oAK FOREST, tL 60452

 NATIONSTAR
 350 HIGHLAND DR
LEWISYILE, TX 75W7
 Date 06/14113

SENT YIA CERTITIED MAIL# 7OI}}qhAOOOO 81153513
RETURN RECEIPTS REQUESTEI)

Ref Aecount No. 060822SE30
AMOUNT; $185,174.0r

To lVhom It May Concern:
Tlis teftq is being sent to you in re$ponse to a noticesent to me on MAy 31, 2013. Be
advised that pursurnt to the tr'rir Debt Collections Practices Act, 15 USC tfb2g Sec.
                                                                                      809 (b)
your claim is disputed and validation is requected.

I ttspoctfully reqult thatyour olfice provide   me   with evideuce that I have legal obligation
to pay this elleged dobt.

Please provide me   with the following:

        l. What the moneyyou say I owe is fori
        2. Explain and show me how you calculated whatyou sry I owe;
        3' Provido me with copies of any paper$ that show I agreed to pay what you say     I
        owe;
        4.Identig the originrl creditor;
        5. Show me that yor are liccnsed to collect in my state;
        6. Provide me with your llcense numbers and Registered Agent;

I am also requesting that no telephone contact be made by your ofrice to my home, cell
P!$e, or to my plece of employment If your oflice attempts telephone eommunication
with me, including but not limited to computer generated crlls anA cr[s or correspondence
sent t9 or with any third partles, it wilt be considered haragsment and I shall sceklegat
remedy. All future communications with me MUST be done in writing and sent to tfie
address noted in this letter by USPS.

Respectfully $ubmitted,


EdwinGarcio
               *              /4*
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              EXHIBIT C
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               5I79 ELMWOOD ROAD OAK FOREST ,lL60452

  VIA Certified Mait# 7014 0510 0002 1745 t6gg



 IRVING TX 75063

 Attn: Mortgage loan accounting department

 RELOAN# 0608275830

 Dear Sir or Madam,

  NATIoNSTAR MoRTGAGE is the servicer of our mortgage loan at the above
                                                                                   address. We dispute the
 amount that is owned according the Monthly Billing stateire-nt and
                                                                     request that you send us information
 about the fees, costs, and escrow accounting on.ouilour. This
                                                                is a qualifiea written n.qr..t, pr*uant to
 Real Estate Settlement and procedures Act section (2605(e)).

 Specifically, we are requesting the itemization of the follorving:

      l   '    a complete payment history that can be easily read and understood including,
                                                                                            but not limited to,
              the dates and amounts of all the payments made on the loan to date;

     2.        a breakdown of the amount of claimed arears of derinquencies;

     3'       an explanation of what you mean by assignment, sale, or transfer.
                                                                                  Which one is it? please include
              a copy of any all assignments, proof of sale, proof of transfer and
                                                                                   to whom.

     4'        the payment dates, purpose of payment and recipient of all escrow items
                                                                                       charged to our account
              since the Ioans inception.

     5'        a breakdown ofthe current escrow charges showing how it is to calculated
                                                                                        and reasons for any
              increase within the last24 months; and

     6'       a c-oPy   ofany annual escrow statements and notices ofshortage, deficiency or surplus,   sent us
              within the life of the current loan.


ln Order to avoid any misunderstanding, all communication shall henceforth
                                                                             be on the record, i.e. in
writing and duly served. Please serve all communications and process directly to
                                                                                 the mailing uAdr"r,
provided below.

I am hereby requesting in writing that neither you, nor any agent on your behalf, call
                                                                                       me at
home or at work. Do not call me at my home number, or            place Lf employment. please
                                                             --y
                                                          "i company so they may comply.
give this information to the appropriate parties within your

Thank-you for taking to acknowledge and answer the request         s   required by Real Estate Settlement and
Procedures Act section (2605(e)).


Very truly yours,


ED*INGARCTA               g*//*
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  USPS.com@    1:19-cv-07870
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                                  CustomerSeryice      USPSMoblle
                                                                                                                                                               RegisGr, Sign tn



                                                                        EZUSPSCOM'

    USPS Tracking"
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                                                                                                                        '.
                                                                                                                                      Customer Service r
                                                                                                                                      Have questlons? We're here to help.



                                                                                                                                      Get Easy Tracking Updates I
                                                                                                                         *            Sign up for My USPS.




      Tracking Number: 70.t4OSl          OOOO21   74Sl 699




      Updated Delivery Day: Tuesday, June 10, 2014


    Product & Tracking lnformation
                                                                                                                        Available Actions
   Postal Product:                            Feafures:
   Firsfolass Mailo                           Cerlifled Mailn                 Retum Receipt

         DATE & T1ME                         STATUS OF ITEM                       LOCATION

         June g,2014, 11:30 am               Dslivered                            rRVtNG, TX 75063


         Your item was delivered at 1 i:38 am on June 9, 20.14 in lRVlNG,
                                                                          TX 75063.


         JLre g, 2014 ,11:20 am              Anived at Unit                       lRVtNG, TX 75063

         Jun6 8,2014, 10:05 pm               Departed usPS Facitity              COPPELL, TX 75099

         June 7, 2014 ,   11   :43 pm        Anived at USPS Facitity             COPPELL, TX 75099

         June 6,2'114, 5:33 am               Departed usPS Fadtity               BEDFORD PARK, IL 60499

         June 5,201 !",8:20 pm               turived at USPS Facility            BEDFORD PARK, IL 60499

         June 5, 2014, :r:4S am              Acceptance                          OAK FOREST, IL 60452




    Track Another package                                                                                          Manage lncoming packages
    Tracking (or receipt) number
                                                                                                                   Track all your packages from a dashboard.
                                                                                                                   No tracking numbers necessary.

                                                                                                                   Sign up for My USpS           >




  HELPFUL LINKS                              ON ABOUT.USPS.COM                         OTHER USPS SITES                           LEGAL INFORMATION
  Contact Us                                 About USPS Homg                           Business Customer Gateway                  Privacy Policy
  Sits lndex                                 Newsrcom                                 Postal lnspectors                           Terms of Use
  FAQs                                       USPS Service Updales                     lnspector General                           FOIA
                                             Forms & Publications                     Postal Explorer                             No FEAR Act EEO DaTa
                                             Govemment Sarvices                       Nalional Postal Musoum
                                             Careers                                  Rgsources for Developers




https://tools.usps.com/go/TrackConfirmAction.action?tReFfullpage
                                                                                                                   &tLc=l&text2g777:... 612ll20l5
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              EXHIBIT T)
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March 1,2018

Edwin Garcia
5179 Elmwood Rd
Oak Forest,IL 60452

MR COOPER AKA NATIONSTAR MORTGAGE
PO BOX 619098
                                                                COTY
DALLAS, TX7526t-9741

REF: Account Number 0608275830
        From Mr. Cooper
Sent via Certified Mail No. 7017 1450 0000 7250 0092

Dear Sir/]vladam,

This letter is not a refusal to pay, but a notice sent pursuant to the Fair Debt Collection Practices
Act, 15 U.S.C. 1692 et. seq., and the Fair Credit Reporting Act, 15 U.S.C. 1681 et. seq. that
your claim is disputed and validation is requested.

This is not a request for "verification" or proof of my mailing address or any other personal
identifiers, but a request for VALIDATION made pursuant to the above named Titles and
Sections. I respectfully request that your offices provide me with competent evidence that I have
any legal obligation to pay you.

Please provide me   with the following:
   o    What the money you say I owe is for.
   o    Explain and show me how you specifically calculated the entire amount of what you say           I
        owe.
   o    Provide me with copies of any and all "account level documents" that show I agreed to
        pay what you say I owe to include original signatures.
   o    Identi& the ORIGINAL creditor.

        If you purchased this alleged account, identify the SELLER you purchased it from        and
        ALL PREVIOUS OWNERS.
        Provide me with a copy of any judgement you say gives you the right to collect anything
        from me.
        Provide me with ANY documentation which establishes your legal standing to collect
        anything from me.
        On February 20,2018 your company generated a mortgage loan statement which I
        received on or about February 26,2018. After carefully reviewing the account over view
        I noticed that there is a negative escrow balance of $1,151 .64. After contacting the cook
        county assessoros office, my taxes were reduced and have not increased in several years. I
        also contactedrny insurance company and I was informed by the representative that my
     Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 22 of 76 PageID #:22




      insurance did not increase. Now I am requesting a complete and accurate audit of the
      escrow account to determine where is the negative escrow coming from.
       I am also requesting that your company provide me where the three trial periods were
       applied which total $4,500 for three trial period payments prior to receiving a permanent
       loan modification that I received in September.
       I am also informing you that I received a call on February 2t,2018 from a representative
       named Jessica in which she refused to provide me her ID or her last name the call was
       placed from 888-480-2432. I informed your representative that I was on a do not call list
       and she informed me that Mr Cooper can call anyone they want even if I am on a do not
       call list. In fact she made it clear to me that the TCPA did not apply because that was not
       a solicitation call. I then informed her that she was completely wrong, she also stated that
       she was calling me looking for a mortgage payment that your company received on
       February 18, 2018 but did not post the payment until February 22,2018 as reflecting on
       my checking account -Please see exhibit A.
       I would also like to inform your company placed my number on the automatic dialer
       without my consent for a total of 47 illegal phone calls from September 19,2017 through
       December 14,2017 in which I will pursue litigation for violation of the TCPA as your
        company is aware that all communication must be in writing.
        On October25,2017,I received another annual escrow account disclosure please see
        Exhibit B, in where your company stated that there was an escrow shortage of $2,043.88
        you then increased my mortgage payment effective December 1,2017 for a new payment
        of $ 1,330.21. As I see that you are trying to increase my escrow negative approximately
        $3,000.00, now I am requesting a complete audit on the escrow and requesting a
        complete and concise explanation where the negative escrow is coming from. If this
        matter is not resolved I will seek legal action for escrow fraud and TILA violations.
        I am also requesting that you report to the credit bureaus that this account is in dispute as
        required by the fair credit reporting act. Your company is reporting inaccurate
        information to the credit bureaus and I will take legal action against your company for
       violation of the Fair Credit Reporting Act.

If your offices are able to provide the proper documentation as requested, I will require at least
30 days after receipt to investigate this information and during such time all collection activity
must cease

If your offices fail to respond to this validation request within 30 days from the date of your
receipt, all references to this account must be deleted and completely removed from my credit
files with the credit reporting agencies and a copy of such deletion request shall be sent to me
immediately. Until proper validation is provided you are to cease all collection efforts.

I would also like to request, in writing, that no telephone contact be made by your offices to me,
my home or to my place of employment. If your offices attempt telephone communication with
me, including but not limited to computer generated calls and calls or correspondence sent to or
with any third parties, it will be considered harassment. All future communication with me
MUST be done in writing and sent to the address noted in this letter by USPS.
      Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 23 of 76 PageID #:23




It would be advisable that you assure that your records are in order before I am forced to take
legal action. This is an attempt to correct your records; ay information obtained shall be used for
that purpose.



Respectfully,




Edwin   c*"i,e{ /L
Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 24 of 76 PageID #:24




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                               Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 25 of 76 PageID #:25

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      mn                                                                                                                         CUSTOMER RELATIONS
                                                                                                                                 aw-78s-7480
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  CNAN$tNe   ifiE   FACE   0S NONf tO*ilS
                                                                                                                                 ONLINE:
                                                                                                                                 wtrmrJnrcooper.com

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                                                                                                                                 LOAN NUMBER
  5185 1 A80.408 T22p1 AUTO 729059.3-NNNN-30058305                                                                              0608275830
  EDWINGARCIA
  SlT9ELMWOODROAD                                                                                                               PROPERTYADDRESS
  oAK FORESq IL 60452                                                                                                           5179 Elmwood St
                                                                                                                                Oak Forest, IL 6O4Ez




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 Re: Mr. Cooper Reference Number:                                                                                                                                    zzz
                                                                     LB-03-18-30273                                                                                   z
       PropertyAddress:                                              5179 Elmwood St                                                                                 c?
                                                                                                                                                                     o,
                                                                     OakForest, IL 60484                                                                             rO
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                                                                                                                                                                     N
      Account Name(s):                                               Edwin Garcia

 DearE<lwin Garcia:

 Mr' cooper received your comespondence dated March                  1, 2018,   regarding concerns with the above reference4 account.
 Thank you for bringing this matter to our attention. We take a]l
                                                                  matters seriorr_sly and- are in the process of reviewing
                                                                                                                           ],our conccrns.
 Our goal is to provide a response no later than April 16, 201g.

 Mr' cooper is fbcused on customer satisfaction and appreciates the opportunity
                                                                                to review ancl respond to customer concerns. should you
have any questions or need any              further information regarding this issue piease contact us.
Sincerely,

Customer Relations
Mr. Cooper
POBOX619098
DAI,LAS, TX 7526L9?47
phone: BZZ-783-Z4B\
fax:972-315-8637
e-mail: customerrelations@mrcooper.eom




Mr' Cooper is a brand name for Nationstar Mortgage LLC. Nationstar
                                                                      Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a
cooper. Mr. cooper is a service mark of Nations[ar-tqorigage LLC.                                                                          Mr.
                                                                  Arr righ6 6ieir".r.
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              EXHIBIT E
Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 27 of 76 PageID #:27
Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 28 of 76 PageID #:28
Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 29 of 76 PageID #:29
Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 30 of 76 PageID #:30
Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 31 of 76 PageID #:31
Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 32 of 76 PageID #:32
Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 33 of 76 PageID #:33




              EXHIBIT F
                                                                      **a-**
    Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 34 of 76 PageID #:34_
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Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 35 of 76 PageID #:35




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    Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 36 of 76 PageID #:36



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                 EXHIBIT G
                     Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 37 of 76 PageID #:37



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Sprinf
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                                                    Contact Us
                                                    sprint.com/contactus   L     la88-211-4727
                                                                                 ("2 from your Sprint Phone)
                                                                                                                     l of 6
                                                                                                                    Account Number: 1 52"1 27 837
                                                                                                                    Bill Period: Sep 03 - OctO2,2017




   Last Bill                                           This Bill                                               Total Amount Due
  Previous Total Due                     $89.92        Account Charges                         $18.84

  Payments -Thank you!                 -$25s.07        Plans & Equipment                      $144.67

  lmmediate Charges                     $149.94        Sprint Surcharges                       $10.17
  Accrued                                                                                                      Let's talk
  Balance Fonruard
                                                       Govemment Taxes & Fees                    $5.75         about this bill
                                      -$15.21
                                                       Total Charges this Blll                                 You made changes to your account this
                                                                                            $179.43            month that can impact your bill total. Here's
                                                                                                               what happened:
                                                                                                               "   You have added a promotion that has the
                                                                                                                   iPhoneT 2 for 1 Promotion that started on
                                                                                                                   Sep 07, 2O17 lor lhe next 1 8 months.




EI sprint.convmysprint
   Pay online
                       L        P"ybyPhone
                                  -800-784-2608
                                                                 EE   P"y by Mail
                                1                                     Return the form below with
                                {"3 from your Sprint Phone)           a check payable to: Sprint

Please see theJ',lews and Notices section on page 2 for important information and changes to Sprint's
policies.




    PO Box 629023 El Dorado Hills, CA 95762



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                  -s

    sprint)                 c

                                                       Scan to pay          Amount Due by Oct 26

                                                                                    Amount Enclosed




    P0 Box 4191
    Carol Stream, IL       60197-4191




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                   Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 38 of 76 PageID #:38



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Sprint
                                                                            A17 of 25
                                                                                        Accou nt Number:   1 521 27 837

                                                                                        Bill Period: Sep 03 - Oct 02, 2017




Catl r}lfaits - (7731ifi7-619 - Voiee ...continued

On       Ai             To/Fnom            Destination        Rate    Mins       Cost
         O5:44pn (fn)971{i429              hcoming            AU      18:00
         Os50p.n p{E}527S5(m               lncoming           CW/AU   01:00
         0556pm (/{8}66&2937               lncoming           CWAU    01:00
         06&                               HARVEY,IL          AU      06:00
                                                              A       01:00
Sep 20   07.#     arn   t5r4)   8353491    ROCHESTER,IN       AU      01:00
         07S7arn (574) 8359491 lncoming                       AU      03:00
         O730am (574)835-9491 ROCHESTER,IN                    AU      02:00
         O7:32am f708) 600€525 LA GMNGE,IL                    AU      08:00
         O7:4Oam (574)835-9491 ROCHESTER,IN                   AU      05:00
         o7:47 am       (773) 556-3018     CHICAGO,IL         AU      01:00
         07:49 d        (708) 921-82ss     SUMMIT,IL                  07:0O
         07:55 am       (708) 921-8255     lncoming           AU      03:00
         08:03 am       (773)746-0343      CHICAGO.IL         AU      01:00
         08:03 am       (708)   381-8063   OAK FOR SO,|L      AU      01:00
         08:23 am       (773\746-0343      CHICAGO,IL         AU      0l   :00
         08:30 am       (708) 381-8063     OAK FOR    SO,IL   AU      01:00
         08:31 am       (773\7464343       lncoming           AU      05:00
         08:35 am       (773) 556-3018     CHICAGO,IL         AU      01:00
         08:37    am    1773)746-0343      CHICAGO,IL         AU      05:00
         09:1 7 am (773) 317-8385 CHICAGO,IL                  AU      02:00
         10:19  am (773\302-1716 CHICAGO,IL                   AU      01 :00
         10:21 am    (708)668-2937 CHICAGOHTS.|L              AU      02:00
         1 0;29 am   (773) 7464343 CHICAGO,IL                 AU      05:00
         10:36 am    (773\ 302-1716 Incoming                  AU      03:00
         10:42am (312) 731-9082 CHICAGO,IL                    AU      01:00
         11:02 am    (708) 600-3525 lncoming                  AU      01 :00
         11:27 am    (574) 835-9491 ROCHESTER,TN              AU      03:00
         11 :37 am   (312) 731-9082 lncoming                  AU      01:00
         11:48 am    (312) 599.8514 CHICAGO,|L                AU      01:00
         11 :49 am   (312) 731-9082 lncoming                  CW/AU   02:00
         11:51 am    (773) 494-6585 CHICAGO,|L                AU      07:00
         12:12 pnt   (708) 574-4197 LA GMNGE,|L               AU      02:00
         12:22pm (708) 986-5301 lncomins                      AU      02:00
         12:26pm (708) 527-6530 lncoming                      AU      O2:O0
         12:37 pn    (szt) 885-9491 ROCHESTER,TN              AU      01:00
         '12:49 pm   (574) 835-9491 lncoming                  AU      0l:00
                   ^
         01:17 pm    (708) 595-5527 lncoming                  AU      03:00
         0l:28 pm (574)635-9491 ROCHESTER,IN                  AU      02:00
         01:36 pm    (574) 835-9491 ROCHESTER,IN              AU      02:00
         02:56 pm    (574) 835-9491 BOCHESTEB,IN              AU      01:00
         02:57 prn (708) 595-5s27 LA GRANGE,|L                AU      01:00
         03:04 pm    (708) 986-5301 lncoming                  AU      03:00
         03:06pm (708)595-5527 lncoming                       AU      01:00
         03:08 pm    (773'297-4586 lncoming                   AU      01:00
         03:23 pm    (574) 8s5-9491 ROCHESTEB,TN              AU      01:00
         03:43 pm    O73) 469-7670 lncoming                   AU      01:00
         03:50 pm    (574) 835-9491 ROCHESTER,TN              AU      02:00


         04:02 pm (574) 835-9491 lncoming     AU                      0f:00
         04:33 pm (708) 595-5527 LA GRANGE,|L AU                      02:00
         04:36pm (7/0)789-8416 ATLANTANE,GA AU                                                              Rate Type
                                                                      03:00
         04:50 pm (708) 921-8255 lncoming     AU                      02:00
                                                                                                            AU   Anytime/Plan Usage
         04:s6 pm (773) 746-0343 CHICAGO,|L   AU                      01 :00                                CW Call Waiting

Call Details - (773) 297-6519 - Voice continues...
                  Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 39 of 76 PageID #:39



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                                                                          A19 of 25
                                                                                          Account Number: 1 521 27 837
                                                                                          Bill Period: Sep 03 - Oc|02,2017


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Call Details - (773) 297-6519   - Voice ...continued

On At                 To/From               Destination        Rate     l,lins     Cost
       01:05 pm       (708)   369-7820      lncoming           AU       01:00
       01:12 pm       (309) 228-6987        lncoming           AU       01 :00

       01:52 pm       (23)556-3018          CHICAGO,IL         AU       02:00
       02:07 pm       (312\T144912          Incoming           AU       02:00
       02:14pm        (574)835-9491 ROCHESTER,IN               AU       01:00
       o2:28pm        (708) 527-6530        HARVEY,IL          AU       04:00
       02:34 pm       (773\ 302-1716        CHICAGO,IL         AU       01:00
       03:56 pm       (253) 237-3483        lncoming           AU       01:00
       03:58 pm       (708) 369-7820        LA   GMNGE,IL      AU       01:00
       04'.17 gm      (708) 369-7e20        lncoming           AU       01 :00
       04:41 pm       (708)689-7419         lncoming           AU       01:00
       06:11 pm       (708)689-7419         FOREST,IL          AU       01:00
       06:14 pm       (574)   e!5-9491 ROCHESTER,IN            AU       01:00
       06:27pm        (708)369-7820         LAGRANGE,IL        AU       02:00
       06:38 pm       (253) 237-3483 lncoming                  AU       0l :00
       07:35 pm       (773\ 302-1716 CHICAGO,IL                AU       06:00
Sep 23 08:43 am       (708) 369-7820 lncoming                  NW/AU    01:00
       08:51 am       (708) 369-7820 lncoming                  NW/AU    01:00
       10:10 am       (708) 4.16-51 76 lncoming                NW/AU    02:00
       '11 :07 am     (708) 600-3525 lncoming                  NW/AU    03:00
       1 l:40 am      (708) 600-3525 LA GRANGE,IL              Nw/AU    02:00
       12:52 pm       (773) 302-1716 CHICAGO,IL                NW/AU    07:00
       12:59 pm       (773) 302-1716 lncoming                  NW/AU    06:00
       01:18 pm       (708) 600-3525 lncoming                  NWAU     01:00
         01:23   pm   (708) 600-ss2s LA GMNGE,IL               NW/AU    03:00
         02i24   pm   (773) 746-0343 CHICAGO,IL                NW/AU    0l :00
         02:25   pm   (708) 57+6532 LA GRANGE,IL               NWAU     02:00
         02:28pm      (7O8\ 574-4197 LA GRANGE,IL              NWAU     01:00
         02:29   pm   (708) 574-6s32 LA GRANGE,IL              NW/AU    01:00
         02:29 pm     (708) 574-6532 lncoming                  NWCWAU   0l:00
         02:35 pm     (708) 574-6532 LA GRANGE,IL              NW/AU    02:00
         a2s7 pftt    (773) 494-6s8s CHICAGO,IL                Nw/AU    04:00
         O2!2pm (77317464343 CHICAGO,IL                        NW/AU    01 :00
         02:44 pm    (773) 7,1&0343 lncoming                   NWAU     01:00
         02:.44plll. (888) 811-5279 lncoming                   NWCWAU   01:00


         OZ47    pm   (888)   811-5279      Toll Free   Gall   NWAU     03:00
                                                               NW/AU    02:00
         03:15 pm (773) ,44-6585 CHICAGO,IL   NW/AU                     02:00
         03:17 pm (708) 574-65s2 LA GRANGE,IL NW/AU                     01:00
         03:18 pm (77q302-1716 CHICAGO,IL     NW/AU                     01:00
         03:25 pm (708) 600-3525 lncoming     NW/AU                     01 :O0
         03:46 pm (708) 689-7419 FOREST,IL    NW/AU                     0l   :00
         03:48 pm (773)3A2-1716 lncoming      NWAU                      02:00
         03:48 pm (708) 689-7419 lncoming     NW/CW/AU                   02:00
         03:50 pm (773) 302n716 CHICAGO,IL    NW/AU                      03:00
         04:02 pm (773) 302-6519 CHICAGO,IL   NW/AU                      08:00
         04:53 pm (773) 302-1716 CHICAGO,IL   Nw/AU                      01 :00
         04:58 pm (773) 746-0343 CHICAGO,IL   NW/AU                      02:00
         05:57 pm (773) 302-1716 CHICAGO,IL   NW/AU                      01 :00
                                                                                                              Rate Type
         0643 pm (s74) 83s-9491 ROCHESTER,IN NWAU                        08:00
         06:52 pm
                                                                                                              AU   Anytime/Plan Usage
                  O73) 746-034i] CHICAGO,IL   NWAU                       03:00
         06:55 pm (773\ 302-1716 CHICAGO,IL                                                                   CW   Call Waiting
                                              NWAU                       01 :00
         06:56 pm (773)302-1716 lncoming      NW/AU                      04:00                                NW Night and Weekends


 Call Details - (773) 297-6519 - Voice continues...
                   Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 40 of 76 PageID #:40
                                                                            A21 of25
                                                                                    Account Number: 1 521 27 837
                                                                                    Bill Period: Sep 03 - Oct02,2017


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Call Details - (773) 297-6519   - Voice ...continued

On        At           To/From              Destination   Hate    Mins       Dost
          0124    pm   (773)   766-4559     CHICAGO,IL    AU      02:00


             pm (708),165-0578 OAK FOR SO,IL
          01i44                                           AU      01 :00
             pm (312) 599-8514 lncoming
          01:48                                           AU      03:00
     02:09 pm (nq746-0343 CHICAGO,IL                      AU      03:00
     02:22pm (77317464343 CHICAGO,IL                      AU      01:00
     02:23 pm (7n\3A2-1716 CHICAGO,IL                     AU      10:O0

     02:42plm (n$302-1716 CHICAGO,IL                      AU      01:00
     02:48 pm (nq302-1716 CHICAGO,IL                      AU      01:00
     02:48 pm    (7731748-0343 CHICAGO,IL                 AU      01:00
     02:49 pm    1773)71G0343 lncoming                    AU      02:00
     02:49 pm    (773)302-1716 lncoming                   CW/AU   01:00
     02:54 pm    (n3l302-1716 CHICAGO,IL                  AU      20:00
     02:58 pm    (312) 684-1930 lncoming                  CW/AU   02:00
     03:13 pm    (708) 465-0578 lncoming                  CWAU    02:00
     03:18 pm    (7731302-1716 CHICAGO,IL                 AU      09:00
     03:28 pm    (773\7464343 CHICAGO,IL                  AU      01:00
     03:43 pm    (773) 598-2356 lncoming                  AU      01:00
     03:51 pm    (773) 746-0343 CHICAGO,IL                AU      01 :00

     04:02 pm    (77317464343 CHICAGO,IL                  AU      02:00
     04:34 pm    (773)746-0343 lncoming                   AU      0l   :00
      05:01 pm   (773) 302-1716 CHICAGO,IL                AU      18:00
      05:18 pm   (708) 495-0281 lncoming                  CW/AU   06:00
      05:25 pm   (773\ A02-1716 CHICAGO,IL                AU      04:00
      05:38 pm   (708) 668-2937 lncoming                  AU      01:00
      05:43 pm   O73) 256-8956 lncoming                   AIJ     0l:00
      07:25 pm   (708) 600-3525 lncoming                  AU      05:00
        1 :18 pm
          1      (708) 574-6532 LA GRANGE,IL              NWAU    01 :00

      I 1 :18 pm (708) 574-6532 LA GRANGE,IL              NW/AU   01:00
Sep26.06:56am (574)835€491 ROCHESTER,IN                   NWAU
      08:13 am    (773) 746-0343 CHICAGO,IL               AU      02:00
          09:35.am (773)746-0343            CHICAGO,IL    AU      12:OO

          09:45am (773)294-4903             lncoming      CW/AU   01:O0
          09:47 am (7731294-4903 CHICAGO,IL       AU              06:00
          09:53 am (773) 302-1716 CHICAGO,IL      AU              06:00
        10:08 am   (773\302-1716 CHICAGO,IL       AU              01:00
          0:15 am
          1        1773) 7464343 lncoming         AU              02:00
        10:17am (773) 598-2356 lncoming           AU              01:00
         11 :04 am (773\.e02-1716 CHICAGO,IL      AU              08:00
         11:16 am  (708) 465-0578 OAK FOR SO,IL   AU              02:00
         11:55 am  (773)7464343 CHICAGO,IL        AU              01 :00
         12:04 pm  (708) 595-5527 LA GRANGE,IL                    06:00
                pm (574) 835-9491 ROCHESTER,IN AU
        -12:32
         12:45 pm   1315) 8574774 lncoming        AU
                                                                  02:00
                                                                  04:00
         12:49 pm  (773)302-1716 CHICAGO,IL       AU              0l:00
         12:50 pm  (708) 465-0578 OAK FOR SO,IL   AU              01:00
         12:56 pm  (708) 465-0578 OAK FoR SO,IL                   01:00
         Ol:11 pm  (708) 465-0578 lncoming        AU              0l   :00
         01 :36 pm  (708) 203-2820 LA GRANGE,IL   AU
         01 :48 pm  1708) 5744197  LA  GRANGE,IL  AU              02:00
                                                                                                        Rate Type
         01:50 pm   (708) 600-3525 LA GRANGE,IL   AU               04:00
                                                                                                        AU   Anytime/Plan Usage
         03:41 pm   (813) 970-6642 TAMPA,FL       AU               l1:00
                                                                                                        CW CallWaiting
         03:47 pm   (212)720-5003 lncoming        CWAU             01 :00
     .p o+:ozpm (888) 811-5279     Toll Free Call AU               01:00
                                                                                                        NW Night and Weekends
     I-
 Call Details - (773) 297-6519 - Voice continues...
                               Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 41 of 76 PageID #:41

                                                                                                                                A22 ot 25
                                                                                                                                Account Number: 1 521 ZZ A3Z
                                                                                                                                Bill Period: Sep 03 - OctOZ,2017
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   call Details - (773) 297_6519 - Voice...continued

   On At                              To/From            Destination              Bate           Mins           Gost
                 0s:30        pm      (7oB)   s74-41s7   LA   GMNGEJI                            01:00
   Sep 27
                 0822am (Z79)g02-1716 tncoffi          AU
                 08:44 am (779) 902-1716 t*orirg
                 08:53 am (708) 6og-3s2s f_aGAnrrrCeLU
                                                                                                 06:00
                 09:07 am (779) 87S-3s94 JOLIET,IL
                                                                                                 01:00
                 09:19 am
                 !:,1:a.  tz?3)rs?-slo7  csicaootl-ffi__                                                                    -
                 t1s'r7
                              ^n
                                      nnar    zii *n                                                      --.
                 9e:-36am (77s)766-4sse                  cHrcaeoffi--                                                       -
                 10:00 am            (708) 277-3829      SUUrrlltru                              02:00
                 10:45 am            (874 496-3138       tncominl
                 10:48 am            (773) 746-0343      CnrcnOOJt_
                                                                                                 01:00
                 10:49 un (773)746-0343 tncoming
                                                                                                03:00
                 l1:08 am    (312) u[:]S-761A CH|CAGO,IL
                                                                              AU                03:00
                 ll nqjrn
                          .- (773897-9927      tncoming                       CWAU              01 :00
                 l1:14 am           746-0343 cHtcAGO,tL
                 11:15am (3r2)€5-6i99 tncominJ
                                                                                                02:00
                 112sam (709)S9s-Ss27 LAGRANGEJL                              AU                0l:00
                 1126am
                 .. -
                             (2791746-0543
                             \. ._, i .v vv_e rruernrng
                                              fncoming                        AU
                  a, 0zs) ooz-r zib
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                                                                                                03:00
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              rgfg__la9E9$5r1_
             12:O4om
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             12:37pm                tgr3lSZO€6a

             01:11om 1773\7d.A-na1h


            03:19 pm


   ,r       03:29 pm
            0j44jll___ltrg8lfEZq rncoffi
                                           446-5176     LA GMNGE.ia

                                                                                               01:00
            04:Ol pm (ZOg) gz7-4152 tncoming
                                                                                               08:00
            04:12 pm (708) SA2-4440 I|NLEYPARKJL
                                                                                               02:00
            vq.1o pm
            04:28 Pm (779)  146-0343 lncoming
                     \t t3) 746-03€                      AU                                    01:00
            04:52pro (7oB)5Z4:6532  %_
                                           LAGRANGEJL
            oz.gtlm (zzs)sOz-rzr6 --CFilaAGOJa==-- Atj-----
                                     ----ll-ll:-.-._.-.-                                       01 ,0c
            07:39Dm /77t\qnl-rzra
            l1,i3p,lc 11?3rso2                                 g             AU
            ?1i:p'(i?s)?46-oo
            o829pm    (7ogp2zz-sazg ffi---                                         -l-_-ii*--                       -
                                                                                           ,;;*
Sep   28    os,os         am       OzbrsC,2-17G--aHlcAGo,iL
            08:08         am       (77S)   766-4559    CHICAGO,|L            AU               o5:oo             j
            T]l"l__ tzs)30r-rl6
           911i"'
           0"0:".
                                   g?s)302
                    1?08)600-3sr5                                            AU
           09:46 am (77s) 9S7-S1O7 CHIbAGOJL                                          --,i#J 01 :00
           09:47          am       (708)   600-A525    LA GMNGE,IL    rL--   AU               ol:oo


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                 om g?sj?€sso
           l:.i:e,
           12:43     /7nnl 6r7i<en
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           11g1qrn _ tzoat zzz-482s- tnco;ns
           =3+_{Pgeg                           ._-- AU--;#--
                                             ------                  - --                                                                      Rate Type
                                                    owAU -- -.--:#-
                                                              .*o                                                                              AU   Anytimelplan Usage
           01:20 pm  (708)
                               _           49i-0222    mOnnf.reeLf           AU               ofio ,*--         _                              CW Call Waiting
Call Details - (7fg) 297-6Stg - Vojce
                                      continues...
                                                                                  -
                        Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 42 of 76 PageID #:42



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                                                                                       A23 ot 25
                                                                                       Account Number: 1 521 27 837
                                                                                       Bill Period: Sep 03 - Oct 02, 2017




Catl Detaits - (773) 297-6519 - Voice ...continuect

On At                    To / From              Destination    Rate    Mins     Cost
           q?.Zg   pm (7rcr3A21716              tncoming       AU      01 :00
           02:34 pm      (708) 510-0564 lncoming     AU                02:00
           03:23 pm      (773) 3026519 lncoming      AU                05:00
           03:55 pm      (773) 25&8956 lncoming      AU                01:00
           04:03 pm      (7Og) 491422,2 LA GRANGE,IL AU                01:00
           04:15 pm      (708) 595-5527 tncoming     AU                01:00
           05:28 pm      (708) 203-2820 LA GRANGE,|L AU                02:00
           06:31 pm      (813) 970-6et2 tncoming     AU                0l:00
           06:32 pm      (708) 4914222 LA GRANGE,IL  AU                05:00
           06:52 pm      (202) 847-5032 lncoming     AU                02:00
           07:56 pm            277-3829 Incoming     AU                02:00
Sep 29     08:23 am      (708) 600-3525 tncoming     AU                03:00
           10:30 am      (708) 3694525 lncoming      AU                03:00
           10:34 am      (407) 947-9400 ORLANDO,FL   AU                04:00
           10:46 am      (312) 217-8769 lncoming     AU                01:00
           10:53 am      (773) 256{956  tncoming     AU                01 :00
           10:55 am      (708) 921€255 tnqgming      AU                04:00
           re,o+   p,    di
           re:eOpm       (e6ei                                         t4O0        _

           lz:+S   pm    foe) d7
           01:21   pm    (773)302-1716         CH|CAGO,|L      AU      01 :00
           01:45pm (773)302-1716 tncoming                      AU      32:00
           o2:17pm (770)789-8416 ATLANTANE,GA                  AU      03:00
           02:36 pm      1773)746-0343         CHICAGO,IL      AU      05:00
           02:38 pm      (708)   8224157       lncoming        CW/AU   03:00
           03:15 pm      (708)   8224157       lncoming        AU
                                                               AU         :00
           03:36 pm (708) 595-5527             tncoming        AU      01:00
           04:30 pm (773)764342 -              CHICAGO,IL      AU      01:00
                                                                       02:00
           04:35          600-3525 lncoming
                         (708)                   AU                    06:00
           04:44 pp (773) 302-17i6 CH|CAGO,|L    AU                    01:00
           04:46pm l77q3A2-1716 tncoming         AU                    01:00
           05:13 pm (773) 746{343  CH|CAGO,|L AU                       0l:00
           oo'oapm 0zs)ffiffi
           06:05 pm (708) 668-2947 CH|CAGOHTS,|L AU                    01 :00




           06:s7   pm    (773) 30e-t   716     CH|CAGO.|L      AU      01:00
           06:58 pm              7,16-0343     CHICAGO,|L      AU      01:00



                                                               AU      02:00
           08:04   pm     302-1716
                         (773)                 CH|CAGO.|L      AU      0l :00
           08:05 pm       687.7500             BLUEISLAND.IL   AU      0l :00
           08:26 pm (773) 302-1716             CHtCAcO,tL      AU      01:00
           08:27 pm (7/3) 302-1716             CHICAGO,|L      AU      01 :00
           09:37    \7731746'4343 CHICAGO,|L                   NW/AU   02:00
           '10:11pm (224)336-2030 NORTHBROOK.TL                NWAU    03:00

      30         am      (23)  746-0343                                                                   Rate Type
Sep        08:17                               CH|CAGO,|L      NWAU    01:00
           08:53 am      (r/3) 746-0343        CHICAGO,IL      NWAU    05:00
                                                                                                          AU Anytime/Plan     Usage
           09:12 am      (773) 256-8956        CHICAGO,IL      NWAU    01 :00                             CW   Call Waiting
           09:14 am      (708) 220-9204        ROSELLE,TL      NW/AU   03:00                              NW Night and Weekends

Call Details - (773) 297-6519      - Voice continues...
                   Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 43 of 76 PageID #:43



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                                                                            A25 of 25
                                                                            Account Number: 1 521 27 Bgl
                                                                            Bill Period: Sep 0i] - OctOZ,2017




Qall Details - (773) p97-6519   - Voice ...continued

On      At           To /   From           Destination


                                                          AU
        02:41        (773)746-0343         CHICAGO,IL
                                           lncoming
        02:53        (770) 789-8416                       AU
        03:10 pm            668-2937                      AU
        03:34        (3r2) 636-0000                       AIJ
        03:37 pm            600-3525       LA GRANGE,IL   AU
        03:41        (708) 580-7554                       AU
        03:55 pm            947-92100                     AU
                                                          EU
        04:19 pm     (708) 3s9-4906
                                                                01:00
        05:26 pm     (708) 66e-2937
                                                                01:00




                                                                                             Rate Type
                                                                                             AU   Anytime/Plan Usage
                    Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 44 of 76 PageID #:44
                                                                                                                     1of

Y
                                                             Us                                                             5
                                                 gl Contacl        ,
                                                                         a
                                                    sprint.com/contactus \         1-888-211-4727                   Account Number: 1 521278g7
                                                                                   (-2 from your Sprint Phone)      Bill Period: Oct 03 - Nov 02,2017




  Last Bill                                              This Bill                                               Total Amount Due

  Previous Total Due                     $164.22

  Payment on 10/24 - Thank               -$165.00
  you!

  Balance Forward                                                                                                Let's talk
                                                         Government Taxes & Fees

                                                         Total Charges this Bill




                                                                                                                       last thrce monhs (new cfnrges)
ffii   Pav online            L-   P"ybyPhone                      XK    P"y by Mail
       spnnt.com/myspnnt           1-800-784-2608                       Return the form below with
                                  '(*3 from your Sprint Phone)          a check payable to: Sprint


Please see the News and Notices section on page 2 for important information and changes to Sprint's
policies.                                                                                                                                              This month




       PO Box 629023 El Dorado Hills, CA 95762                                                              Detach and return this remittance form with your payment.
                    '*                                     EiilTE
                                                           ffi
                                                                                                     Make check payable to Sprint in U.S. dollars. DO NOT SEND CASH.
                                                                                                                                          Account Number 152127 837


       sprint)                                            Scan to pay         Amount Due by Nov 26

                                                                                       Amount Enclosed




       P0 Box 4'191
       carol stneam, IL      60197-4191




        lsale?8t7           U0080817087 00uuu0uu8?80 000uuu1?001b
                            Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 45 of 76 PageID #:45



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                                                                                                             A9 of 25
                                                                                                             Account Number: 1 521 27 837
                                                                                                             Bill Period: Oct 03 - Nov 02,2017




 Cail Details - (708) 574-6592                - Voice ...continued

On At                        To/ From                    Destination     Rate        Mins         Cost
               10:36 am              440-06s1            cHtcAGo,tL.

               tt:t+_am      (gZZ)Ai
               I t:26 am     (773)   418-8579            CH|CAGO,|L                  01:00
               11:54 am      (773)   418-8579            CH|CAGO,|L                  01:00
               yl41    pm    (7731322-2975               tncoming                    01 :00
               12:43   pm    (773)   418-8579            tncoming                    0l :00
               12:49   pm    (773)   /+18{579            lncoming                    01:00
               02:13   pm    (773\322-2975


               02:s5   pm    1773)322-2975               CHtCAeO,tL                  01:00

               03:11   pm    (773)   875-8i49 CHICAGO,|L                 AU          02:00               -
               OS,+e   pr    0ZSj
               05:40   pm (77q322-2975                   lncoming        AU         01 :00
                                                                         AU         01:00
               06:33   pm  2976519 tncoming
                             (773)              AU                                  02:00                _

               o6:42pm (7731322-2975 CH|CAGO,|L AU                                  0.r,OO           -
           07:11       pm (312) 599-8514                 tncoming        AU         01:00
               07:21   pm (773)322-2975                  CH|CAGO,IL                 01:00     -
           08:03             (872)215-8140               CHtCAcO,tL                 01:00
Nov   01       am
           06:41             (779) Ble-1079              CH|CAGO,|L                 01:00
               pm
           02:41             (773) 818-1079              CH|CAGO,|L                 01 :00
           02:42pm           (312) 599-8514              CHICAGO,IL                 02:00

           02:45       pm    (773)   875-8149            CH|CAGO,|L
                             (312)   599-8514            lncoming        AU     '   01 :00
Nov 02
           02:48       pm    (708) 62
           02:50 pm          (708)   860-2826            LA   GMNGE,IL   AU         01:00            -
           02:51 pm          (773)
                             (312)599-8514               CHICAGO,|L
           06'52pm           (773)   297-6519            lncoming        AU         01:00
           08:32       pm    1773)322-297s               CH|CAGO,|L                 01:00
           08:32       pm    (773)   418-8579            CH|CAGO,IL      AU         01:00



calt Detaits - (fi91297-6519 - Voice
                                     -c
On         At                To / From                   Destination     Rate       Mins          Cost
Oct 03     10:41       am    (708) 600-3525 LA GRANGE,|L                            04:00
           10:45       am    (773) 746-0343 CHICAGO,|L                   AU         01:00
                                                                         AU         03:00
                                     921-8255            SUMMIT,IL       AU         05:00
           11:49am (708)600-s525                         LAGRANGE,TL
           12:12pm (312) 972-9016                       CHICAGO,|L                  02:00
           r   2:16    pm    (773)   971-0429            tncoming                   02:00
           12:27 prn (312) 972-9016                                      AU         0l :00
           01:45 pm  (708) 595-5527                     LA GRANGE,IL                0'l:00
           03:02pm . (888)811-5279                                                  01:00
           03:17 pm  (708)574-6532                      lncoming                    02:00
           03:46 pm  (708) 878-1633                     LA GRANGE,|L                                                           Rate Type
           91!!   tt (312) 523-7827                     tncomins                    19:00                                      AU Anytime/Plan   Usage
           91{a p,   912\774-4912                       tncomins                                                               NW Night and Weekends

Cail Details - (773) 297-6519             -   Voice continues..
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                                                                                    A10 of 25
                                                                                                   Account Number: 1 521 27 837
                                                                                                   Bill Period: Oct 03 - Nov 02,2017




Call Details - (773) 297-6519               - Voice...continued

On         At                  To/From                  Destlnation      Rate    Mins       Cost
           05:46pm             (407)947-9400            lncoming         AU      12:00
             pm
           06:10               (708) s5-5175            lncoming         AU      09:00
             pm
           07:06               (773) 983-1511           CHICAGO,IL       AU      17:00
       08:30 pm                (708) 595-5527           LA GRANGE,|L     AU      08:00
Oct 04 08:19 am                (866) 820-6218           Toll Free Call   AU      16:00
       08:35 am                (708) 66&2937            CHICAGOHTS,IL    AU      04:00
           08:56      am       (708) 66e-2937           lncoming         AU      04:00
           08:59 am            (708) 369-7820           lncoming         Cw/AU   01:00
           09:00 am            (708)   369-7e20         LA   GMNGE,IL    AU      03:00
           09:04      am       (773) 766-4559           CHICAGO,IL       AU      01:00
           l0:03  am (708) 510-0564                     lncoming         AU      02:00
           10:09  am (8€,8\ 2244702                     Toll Free Call   AU      08:00
           l0:18 am  (773) 469-7670                     CHICAGO,IL       AU      03:00
           '11:21 am (773) 4.10-0651                    CHICAGO,IL       AU      01:00
           1 21 am
               1     (708) 600-3525                     LA   GMNGE,IL    AU      01:00
           1122a;m (773)746-0343                        CHICAGO,IL       AU      09:00
           11 :31 am (708) 600-3525                     lncoming         CW/AU   l2:00
           12:19 pm  (773) 827-1585                     lncoming         AU      03:00
           12:22 pm  (708) 600-3525                     LA GMNGE,|L      AU      02:00
           12:35 pm  (773) 4,f0-0651                    CHICAGO,IL       AU      16:00
           12:4s      pm       (708) 668-2937           lncoming         CW/AU   01:00
           01:40      pm       (708)   668-2937         CHICAGOHTS,IL    AU      05:00
           01:41      pm       (708) 668-2937           lncoming         CWAU    02:00
           01:56 pm            (773)   875-9081         CHICAGO,IL       AU      02:00
           02:01 pm            (773) 766-4559                            AU      16:00
           02:41 pm            (708)921-8255            lncoming                 02:00
           04:57 pm            (773) 957-5107           CHICAGO,IL       AU      01:00
           06:15 pm            (773)   302-6519         CHICAGO,|L       AU      03:00
           06:17 pm            (773) 302-6519           lncoming         AU      22:0Q
           06:39 pm            (773) 302€519            lncoming         AU      01 :00
           O7:12               (708) 574€s32            lncoming         AU      02:00
Oct   05   08:49 am            (404 947-9400            lncoming         AU      01 :00
           10:02 am            (407) 947-9400           ORLANDO,FL       AU      03:00
           10:07 am            (708) 921-8255           SUMMIT,IL        AU      08:00
           10:15 am            (773) 256-8956           CHICAGO,IL       AU      01:00
           10:16 am            O73) 256-8956                             AU      02:00
           11:47      am       (773)558-0047            lncoming         AU      06:00
                           -
           1   1:58   am       (773) 746-0343           lncoming         AU      01 :00
           12:04      pm (708!668-2937                  CHICAGOHTS,|L    AU      A2:OO
           12:05               (813) 970€642                             AU      11   :00
           12:16 pm (708) 66e-2937                      CHICAGOHTS,|L            02:00
           12:31 pm (708)668-2937                       lncoming         AU      03:00
           12:37 pm (773) 971-0429                      lncoming         AU      01 :00
           12:52 pm (708) 921-8255                      tncoming         AU      02:0O
           02:53 pm (312) 462-9153                      CHICAGO,IL       AU      01 :00
           03:29 pm (315) 636-5408                      lncoming         AU      01:00
           03:52 pm (708) 600-3525                      lncoming         AU      02:00
           0426 pm (708) 595-5527                       lncoming         AU      02:00
           04:39 pm (708)574-6532                       lncoming         AU      02:00
                                       81   1   -5279                    AU      01:00
           06:12 pm            (813) 970-6642           lncoming         AU      07:00
Oct   06   08:29 am            (708\ 574-6532           lncoming
                                                                                                                      Rate Type
                                                                         AU      02:00
           08:50 am            (708) 600-3525           lncoming         AU      03:00
                                                                                                                      AU   Anytime/Plan Usage
           09:00 am            (773) 971-0429           CHICAGO,IL       AU      02:00                                CW CallWaiting

Call Details - (773) 297-6519 - Voice continues...
                             Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 47 of 76 PageID #:47
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Sprinf
                                                                                                                       Account Number: 1 521 27 837
                                                                                                                       Bill Period: Oct 03 - Nov 02' 2017




iatt   Detaits -   (77q n7-6519 - Voice "'continued

                                                         Destination       Rate           Mins              Cost
On         At                  To / From
                                                                                          06:00

           09:13    am         1ZZa1   Z1Z-ZO8Z      -   lncoting          CWAU           Ot tO9
                                                                                          01:00
           os'li",             O73)    7084468           qU9499,1!         AU
                                                                                          02:00
           osf5..              (903) 686-281     1       lncoming          AU
                                                                           AU             17:00

                                        ffitrc           lncoming          CWAU           01:00
            10:02 am
                                                                           lu             q!99
            @,rL
            1r,'2r*t           (r,g\3OZ-rZrS                                                                --
            10:42 am
                                            -CcHlcAGo,lL
                                      746-0343                             AU             01:00
                                                                                          02:00
            10:43 am                  381-8063 oAK FOR SO'IL               AU
                                                                                           04:00
            n:47        an      (/08) 921-8255 SUMIvllT4                   AU
                                                                                           0l
            ii:oo       am      (773)   7464343           lry9l'nq         AU
                                                                                           02:00
                                                                                                :00

                                        714-4912          cHlcAGo'lL       AU
                                                                            AU             01:00
             11:50 am                   21'7-7082         lncoming
                                                                            AU             01:00
             tt'St am           (773)302-1716             CHICAGO,IL


                12:00   pm      (708)921-8?s5
                                                                                           02:00
                12:05 pm        (773) 256-8956            CHICAGO,IL        AU
                                                                                           01:00
                12:07 pm        (708) 921-8255            SUMMIT.IL         AU



                01:42   Pm      (7731302-1716
                                                                            AU              13:00
                01:48 Pm                 746-2936         Toll Free Call
                                                          CHICAGO.IL        AU
                02:00
                         pm      (888) 811-5279                             AU
                02:40


                03:21    pm      (708) 527€530
                                                                                            03:00
                03:33    pm      (773)746-0343                               AU

                03:39    pm      (708) 574-41s7            Incoming          AU             03:00
                                                                             AU              01:00
                 03:59           (23) 971-0429             lncoming

                 03:59   pm       1773\971{'429
                                                                             AU              01:00
                                                                                             03:00
                 04:08   pm       (773)746-0343            lncoming          AIJ
                                                                             AU                 01:00
                 04:35            (773\746-0s43
                 04:36   pm       (773)   746-0343         lrygrnlg
                 oso6     p,      (773) 7a6-031!
                                         ---qrp4e9:l!
                                                                                AU              05:00
                                                                                                01:00
                 05:46 pm          574-6532 lncoming                            AtJ
                                                                                                01:00
                 05:48 Pm          574.6532 LA GRANGE,IL                        AU
                                                                                                01:00
                 OOSIp* (708) 574-6532 LAGRANGE,IL                              AU

                 oo,s8 p,
                          -- (708) 574-6s32 !4 s!4!994                          AU              01:00

                 oesa pr          (zzg)    Zle-osf-- tlg$o'l!                   AU              01:00
                                                                                                03:00
                 Oe,3S    p,      (773)    746-0343         lncoming            AU

                  ffi                                       ronesr,tl           4!.1,           ot'oo

                  oO'lZ   p-       tzzo 302-1716 CHICAGO,IL
                                                            AU                                  02:00              -

                                                                                                01:00
                  0?s?p* (224)336-2030 NORTHBROOK,IL AU
                                                                                                 04:00
                  OZ:OA pm (224) 336-2030 lncoming    AU
                                                                                                 02:00
                  07:34 pm        746-0343 cHlcAGo,lL
                                                                                                 0l
                  07:58 pm (773) 302-1716 cxl0499lL
                                                                                                      :00

                           (773) 746-0343 cHlcAGO'lL  AU                                         02:00
                  08:43
                  oA:+S pm  (773) 302-1716 CHICAGO'IL AU
                                                                                                 29:00
                  08:58 pm
                                                      AU
                            O73)302-1716
                                                                                                                                                Rate Type
       Oct 07      08:23 am            (773\7464343                                                                                             AU   Anytime/Plan Usage
                                                                                  NW/AU          01:00
                   08:25 am            (773) 256-8956        CHICAGO,IL                                                                         CW Call Wailing
                                                                                  NW/AU          01 :00
                   09:13 am            (23) 256-8956         CHICAGO,IL                                                                         NW Night and Weekends
                                                                                  NW/AU          06:00
                   09:28 am            (773) 766-4559        CHICAGO,IL


       Call Detaits - (773) 2g7-651ig - Voice continues"'
                  Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 48 of 76 PageID #:48



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                                                                           A13 ot 25
                                                                                  Account Number: 1 521 27 837
                                                                                  Bill Period: Oct 03 - Nov 02, 2017


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Call Details - (773) 297-6519 - Voice ...continued

on      At             To /'From          Destination   Rate    Mins       Cost
        09:01   am     (312)Tt44912       CHICAGO,IL    AU      02:00
        09:25 am       (312) 435-5670 CHICAGO,IL        AU      01:00
        09:28 am       (312) 435-5670 CHICAGO,IL        AU      01:00
        0943 am        (708) 369-7820 lncoming          AU      02:00
        09:43 am       (708) 580-7554 lncoming          CW/AU   01:00
        09'.44 am      (708) 580-7554 TINLEYPARK,IL     AU      01:00
        09:59 am       (773) 716{343  lncoming          AU      01:00         -
         10:07 am      (708) 921-8255 lncoming          AU      07:00
        10:47 am       (773) 556-3018 lncoming          AU      01:00
        11:ll am       (815)341-7949      JOLIET,IL     AU      01:00
         11:12 am      (815) 341-7949     lncoming      AU      03:00
        11:14 am       (773)764343        CHICAGO,IL    AU      0l:00
        11:16 am       (773\7#4343        lncoming      AU      03:00
         11:20 am      (708) 369-7820     lncoming      AU      01:00
         11:30 am      (708) 921-8255     lncoming      AU      11   :00
         1l:53 am      (708) 200-1588     lncoming      AU      01:00
         t2:36 pm      (708) 200-1588     lncoming      AU      01:00
         12'.44 pm     (773) 469-7670     CHICAGO,IL    AU      01 :00

         12:50 pm      (773\302-1716      CHICAGO,IL    AU      01:00
        01:I8pm        (773\302-1716      lncoming      AU      01:00
         01:39    pm   302-1716 CHICAGO,IL AU
                       (773)                                    02:00
         02:03 pm (7731217-7082 lncoming   AU                   01 :00

         02:23pm (rrc) 746-0343 CHICAGO,IL AU                   04:00
         02:32pm (708)600-3525 lncoming    AU                   02:00




         04:1 1   pm   (708)   374-1580 CHICAGOHTS,IL   AU
         04:24    pm   (773)   302-1716 CHICAGO,IL      AU      01:00
         04:31pm (7731746-0343 CHICAGO,IL               AU      02:00
       05:19 pm   (708) 20e1588 LA GBANGE,IL            AU      02:00
       05:28 pm   (708)5744197 LA GRANGE,IL             AU      02:00
       0s:29 pm   (708) 200-1588 LA GRANGE,IL           AU      01:00
Oct 10 O7i52am (404 947-9400 ORLANDO,FL                 AU      01:00
       08:14am (407)947-9400 ORLANDO,FL                 AU      03:00
       08:22am (773)302-1716 CHICAGO,IL                 AU      01:00
       09:38 am   @0n947-9400 lncoming                  AU      07:00
         0:54 am
             1    (773) 7464343 CHICAGO,IL              AU      02:00
       11:08 am - (404 947-9400 OHLANDO,FL              AU      01:00
       03:48 pm   (708837€068 lncoming                  AU      01:00
       04:00 pm   (708) 737-6068 lncoming               AU      01 :00

       04:00 pm   (708) 737-6068 ORLAND,IL              AU      02:00
       04:02 pm   (813) 970€642 TAMPA,FL                AU      03:00
       04:13 pm   (708) 737-6068 lncoming               AU      01 :0O
       04:14 pm   (708) 737€068 lncoming                AU      01:00
       04:14 pm   (773) 74C0343 CHICAGO,IL              AU      09:00
       05:38 pm   (866) 316-2432 lncoming               AU      01:00
       o7:27 pm    (407) 947-9400 ORLANDO,FL            AU      01:00
       07:48 pm    (773)7460343 CHICAGO,IL              AU      0l   :00
       08:10 pm    (407) 947-9400 ORLANDO,FL            AU      04:00
       08:17 pm    (407) 947-9400 ORLANDO,FL            AU       0t:00
Oct 11 08:16am Oon922-6077 KISSIMMEE,FL                 AU       02:00
                                                                                                       Rate Type
       08:17am (407)922-6On lncoming                    CW/AU    04:00
                                                                                                       AU   Anytime/Plan Usage
       0820am (321)662-65s4 ORLANDO,FL                  AU       04:00
        0827 an                                                                                        CW CallWaiting
                    1773)746-0343 CHICAGO,IL            AU       02:00


 Call Details - (773) 297-6519 - Voice continues...
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                                                                                414 ol25
                                                                                      Account Number: 1 521 27 837
                                                                                      Bill Period: Oct 03 - Nov 02, 2017


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Call Details - (773) 297-6519       - Voice ...cgntinued

On       At                 To/From             Destination    Rate   Mlns     Cost
         09:09am (708) 762-6679 RIVERSIDE,IL AU                       02:00
      09:22am (773),140-0651 CHICAGO,IL      AU                       05:00
      10:12 am    (404 947-9400 lncoming     AU                       01:00
      '10:12 am   (404 947-9400 lncoming     AU                       01 :00

      10:29 am    (407) 809-2903 lncoming    AU                       03:00
      10:35 arn $0n922-607i KESIMMEE,FL      AU                       02:00
      01:10 pm    (312)217-8769 lncoming     AU                       02:00
      01 :13 pm   (773) 297-3855 lncoming    AU                       01:00
      01:56 pm    (773)7294324 lncoming      AU                       03:00
      02:00 pm    (407) 947-3400 ORLANDO,FL  AU                       02:00
      02:19 pm    (404 947-9400 ORLANDO,FL   AU                       01:00
      02:31 pm    (770) 789-8416 lncoming    AU                       02:00
      02:58 pm    (407) 947-9400 lncoming    AU                       02:00
      03:53 pm    (888) 81 1-5279 lncoming   AU                       01:00
      06:07 pm    (773) 746-0343 CHICAGO,IL  AU                       02:00
      0638pm (407)947-9400 ORLANDO,FL        AU                       01:00
      06:29 pm (404 947-9400 1"."r*S         AU                       04:00
      09:05 pm    (312) 731-9082 lncoming    NW/AU                    03:00
      09:14 pm (708)TI6-32s2 FOREST,IL       NWiAU                    0!:00
      09:16 pm    (773) 678-3906 CHICAGO,IL  NW/AU                    01:00
      09:16 pm (773) 678-3906 lncomins       NW/AU                    03:00
      09:25 pm    (404 575-8692 lncoming     NW/AU                    01:00
      09:s0pm (404947-9400 ORLANDO,FL        NWAU                     04:00
Oct12 07'.54 am (407) 947-9400 ORLANDO,FL    AU                       06:00
       09:14 am    (321) 65e9609 lncoming    AU                       01 :00

       09:18 am    (773)7464343 CHICAGO,IL   AU                       02:00
       09:32 am    (321) 666-9609 lncoming   AU                       01:00
       10:23am (770)789-8416 ATLANTANE,GA AU                          05:00       -
       10:42 am    (407) 947-9400 lncoming   AU                       05:00
       I 1 :51 am  (On 922-6077 lncoming     AU                       02:00
          11   :s3   am922-6on
                            (407\               KISSIMMEE,FL   AU     0'l:00
          t 1:ss,am (70qn64252                  FOREST,IL      AU     01:00
          12:O2pm           (773) 766-4559      CHICAGO,IL     AU     01:00
          12:03 pm          (404 947-9400       lncoming       AU     0l :00
          12:03 pm          (773) 756-4559      lncoming       CWAU   01 :00
          1203       pm     (773) 766-4sss      CHICAGO,IL     AU     01:00
          12;16  pm         (773) 302-6519
                                    lncoming                   AU     02:00
          12:34 pm          ?73)7294324
                                    lncoming                   AU     01:00
          01 :31 pm (708).689-741S lncoming                    AU     02:00
          01:36 pm  (708) 668-2937 lncoming                    AU     01:0O
          02:16 pm  (708) 689-7419 FOREST,IL                   AU     07:00
          03:02 pm  (888) 81 1-5279 lncoming                   AU     01:00
          03:03 pm  (708) 668-2937 CHICAGOHTS,IL               AU     02:00
          03:23 pm  (312) 863-2800 Incoming                    AU     01 :00
          03:25 pm  (708) 600-3525 LA GRANGE,IL                AU     02:00
          03:32 pm  (708) 600-3525 lncoming                    AU     01:00
          03:33 pm  (312) 863-2800 CHICAGO,II                  AU     01:00
          03:34 pm  (708) 600-3525 LA GRANGE,IL                AU     01 :00
          03:34 pm  (312) 863-2800 CHICAGO,IL                  AU     02:00
          03:s5 pm  (773) 766.4559 CHICAGO,IL                  AU     04:00
                                                                                                           Rate Type
          04:26 pm  (708) 351-5858 lncoming                    AU     03:00
                                                                                                           AU Anytime/Plan   Usage
          04:50 pm  (708) 574-6532 LA GRANGE,IL                AU     02:00
          04:54 pm  (773) 620-3786 lncoming                                                                CW CallWaiting
                                                               AU     06:00
          05:21 pm $0n922-8O77 KISSIMMEE,FL                    AU     02:00                                NW Night and Weekends


 call Details -      (nq   297-6519 - Voice continues...
                   Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 50 of 76 PageID #:50
                                                                                           A15 of 25
                                                                                           Account Number: 1 521 27 837
                                                                                           Bill Period: Oct 03 - Nov 02, 2017


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Call Details - (773) 297-e519 - Voice ...continued

On      At            To/From             Destination     Rate       Mins       6ost
        05:56pm       Unavailable         lncoming        AU         02:00
        07:04pm       (773)7$4343 CHICAGO,IL       AU                0l:00
       07:05 pm       073)746.0343 lncoming        CW/AU             02:00
       07:39 pm       (708) 689-7419 FOREST,IL     AU                02:00
       08:00 pm       (773),trc-0651 CHICAGO,IL    AU                06:00
       08:06 pm       C/73) 746-0343 CHICAGO,IL    AU
       08:07 pm       (773) 746-0343 CHICAGO,IL    AU                06:00
       08:12 pm       (773) 678-3906 CHICAGO,IL    AU                04:00
       08:16 pm       (708) 668-2937 CHICAGOHTS,IL AU                03:00
       08:20 pm       (708) 5744197 LA GRANGE,IL   AU                01:00
       08:53 pm       (708) 689-7419 lncoming      AU                03:00
       08:58 pm       (708) 689-7419 lncoming      AIJ               02:00
       09:14 pm       (708) 921-8255 SUMMIT,IL     NW/AU             02:00
       09:17 pm       O08) 921-8255 SUMMIT,IL      NW/AU             09:00
        0:10 pm
         1            (773) 67&3906 CHICAGO,IL     NW/AU             11:00
Oct 13 05:46 am       (4071922-6077       KISSIMMEE,FL    NW/AU      02:0O
         05:46   am   $On      922-60n    lncoming        NW/CW/AU   01 :00

         08:12   am       784€300 lncoming
                      (321)                               AU         01:00
         08:14 am $0n522$077 KISSIMMEE,FL                 AU         02:00
         08:16am (407)947-9400 ORLANDO,FL                 AU         02:0O
         09:04am (770)7e9€416 ATLANTANE,GA                AU         02:00
         09:33 am   (407) 947-91100 ORLANDO,FL            AU         04:00
         09:40 am   (773\746-0343 CHICAGO,IL              AU         05:00
         10:25 am   (404 947-9400 ORLANDO,FL              AU         03:00
         10:29 am $On922-60n KISSIMMEE,FL                 AU         02:00
         10:57 am   (708) 359-0611 lncoming               AU         01 :00
         'I l:14 am (708) 600€525 LA GMNGE,IL             AU         07:00
          l1:29 am (708) 580-7554 lncoming                AIJ        02:00
         02:3s   pm   (773)    7664559    CHICAGO,IL      AU         01:00
         02:36 pm     (7O8\ 574-4197      LA GRANGE,IL    AU         0l   :00
         02:37 pm     (708) 200-1588      LA GRANGE,IL    AU         01 :00
         02:52   pm   (708\776-3252       FOREST,IL       AU         03:00
         02:56 pm (3r2) 599-8514          CHICAGO,IL      AU         02:00
         02:58 pm (708) 574-6532          LA GRANGE,IL    AU         02:00
         03:30 pm (404 947-9400           ORLANDO,FL      AU         01:00
         03:55 pm (773)7164343            CHICAGO,IL      AU         02:00
         05:35 pm
         0
             pm
         07:43
             pm
         07:45
       07:46 pm
                  (708) 574-6532


                      Unavaibble lncoming
                                          LA   GRANGE,IL AU


                      (708) 574-6532 LA GRANGE,IL
                      (407) 947-9400 ORLANDO,FL
                                                          AU
                                                          AU
                                                                     01 :00


                                                                     0I:0C)
                                                                     02:00
                                                                     06:00
                                                                                       r
       09:37 pm       (773) 746-0343 CHICAGO,IL           NWAU       02:00
Oct I4 09:19am        (773)746-0343       CHICAGO,IL      NWAU       01:00
       09:35am        (773)302-1716       lncoming        NW/AU      01 :00
       09:42 am       (312) 778-9688      lncoming        NW/AU      03:00
       11:37 am       (773) 766-4559      CHICAGO,IL      NW/AU      01 :00
        1:39 am
             1        (773) 766-4559       Incoming       NW/AU      02:00
       11:41 am        (312)778-9688      CHICAGO,IL      NW/AU      02:00
       11:57 am        (708)   600-3525    lncoming       NWIAU      03:00

       V.wp _          OonWT               lncoming       NWAU       02:00
                                                                                                                Rate Type
       03:37pm         (708)574-6532       LAGRANGE,IL    Nw/AU      01:00
                                                                                                                AU Anytime/Plan     Usage
       05:05 pm        (312) 414-9350      lncoming       NW/AU      02:00
                                                                                                                CW
       06:14 pm
                                                                                                                     Call Waiting
                       (708) 574€532       LA GRANGE,IL   NW/AU      02:00
       06:20 pm        (708) 574-6532      LA GRANGE,IL   NW/AU       12:00                                     NW Night and Weekends


 call Details - (773) 297-6519 - Voice continues...
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                                                                                            A'17 ot 25
                                                                                            Account Number: 1 521 27 837
                                                                                            Bill Period: Oct 03 - Nov 02, 2017


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Calt Details - (773) 297-6519 - Voice ...continued

On At                    To/From            Destination   Rate     Mins          Cost
         1     am
             0:00        (770)789-8416      lncoming      AU       01:00
         10:36 am        (404 947-9400      ORLANDO,FL    AU       01 :00

         10:40 am        (404 947-9400      ORLANDO,FL    AU       01:00
         1 1      :32 am @On 922-6077       lncoming      AU       02:00

         12:10 pm $0n922-60n                lncoming      AU       03:00

         01 :23pm (770) 789€416 lncoming                  AU       01:00
         02:34 pm (773\7464343 CHICAGO,IL                 AU       01:00
         02:37 pm (773\7464343 lncoming                   AU       03:00
         03:33 pm (678) 416-6362 lncoming                 AU       04:00
         03:45 pm (773) 98lil-1511 lncoming               AU       02:00
         05:10 pm (574\ ?01-8723 lncoming                 AU       03:00
         05:33 pm (574\201-8723 ROCHESTER,IN              AU       01:00
         06:09 pm  (404 947-9400 lncoming                 AU       03:00
         06:15      pm   (404 947-9400                    AU       03:00
         O7:22pm         (1O7)   808-6265   lncoming      AU       01:00
         07:50 pm (773\746-0343 CHICAGO,IL                AU       O2:00

        07:53 pm   (773)302-1716 CHICAGO,IL               AU       0l :00
        07.57 prn (708) 600-3525 LA GMNGE.IL              AU       04:00
        08:00 pm   (773) 746-0343 CHICAGO,IL              AU       03:00

        08:02 pm   (773) 746-0343 CHICAGO,IL              AU       01:00
        08:04 pm   (773) 746{343   CHICAGO,IL             AU       01:00                -

        08:04 pm   (407) 947-9400 ORLANDO,FL              AU        01 :00

        10:40 pm   (773) 678-3906 CHICAGO,IL              NWAU      03:00
 Oct 17 09:00 am   (407) 947-9,100 ORLANDO,FL             AU        01:00
        09:15 am   (4O4922-6077 KISSIMMEE,FL              AU        02:00
        09:21 am $0n922-6077 lnmming                      AU        01:00
        09:43 am   (407) S47-9400 ORLANDO,FL              AU        01:00
         09:44 am   (40n 947-9400 lncoming                AU        01:00
         10:32 am   (708) 600-3525 lncoming               AU        01:00
          O:37 am
             'I     (773\74&0343 lncoming                 AU        01:00
         11:22am (708) 921-8255 lncoming                   AU       03:00
         11 :52 am  (773\7464343 CHICAGO,IL                AU       05:00
         1'l:57 am  (708) 600-3525 LA GRANGE,IL            AU       02:00
         12:04 pm   (77319714429 CHICAGO,IL                AU       02:00
         12:09 pm   (312) 353-5836 lncoming                AU       03:00
         0l:12 pm (773) 2944903 lncoming                   AU       04:00
             02:00        1312\774-4912      lncoming      AU       02:00
                                                           AU       01 :00

             02:23  pm (e88)31 1-5279 Toll Free Call       AU       01:00
              02:34 pm 073\7464343 lncoming                AU       01:00
         05:56 pm  (708) s74-6s32 LA GRANGE,IL             AU        01 :00

         06:19 pm  (708) 5274530 Incoming                  AU        01:00
         06:24 pm  (708) 527€530 lncoming                  AU        02:00
         08:53 pm  (708) 600-3525 LA GRANGE,IL             AU        01:00
         08:53 pm  (708) 600-3525 lncoming                           01 :00

         08:54 pm  (708) 600-3525 LA GRANGE,IL             AU        O1:00

         08:54 pm  (708) 600-3525 LA GRANGE,IL             AU        01:00
         09:01 pm  (708) 574-6532 LA GRANGE,IL             NW/AU     01 :00

  Oct 18 08:10  am  (708) 381-8063 OAK FOR SO,IL           AU        02:00
         08:31 am   (312) 241-8512 CHICAGO,IL              AU        '11   :00

         09:16 am   (708) 66&2937 lncoming                 AU        01:00
                                                                                                                  Rate Type
         0925 am (7OB)2O3-2820 lncoming                    AU        01:00
                                                                                                                  AU   Anytime/Plan Usage
          1020 am (708) 446-5176 LA GMNGE,IL               AU        0'1:00
                                                                                                                  NW Night and Weekends
          10:55 am  (874 49G3138 Toll Free Call            AU        07:00


  Call Details - (773) 297-6519 - Voice continues...
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                                                                                      A18 oI25
                                                                                      Accounl Number: 1 521 27837
                                                                                      Bill Period: Oct 03 - Nov 02, 2017




Calt Detaits - (77g) 297-6519 - Voice ...continued

On At                    To/From            Destlnation      Rate   Mins       Cost
           l1:02  am      878-1633
                         (708)              LA   GMNGE,|L    AU     02:00
           I 1:03 am(708) 878-1633          lncoming         CWAU
           11:11 am (Zg) 494€585            CHICAGO,|L       AU     09:00
           11:24am. (e66) 820€218           Toll Free Cail   AU     21:OO
           12:16    pm   (708)   381€063    OAK FOR SO,|L    AU     01:00
           12:t6pm        381€063 OAK FOR SO,|L
                         (708)                               AU     01 :00
           12:17pm        381-8063 lncoming
                         (708)                               AU     02:00
           't2:2Opm (708) 897-8160 BLUE|SLAND,tL             AU     03:00
           12:22pn  (708) 3594906 LA GMNGE.|L                AU     02:00
           12:26 pm (708) 595-5527 lncoming                  AU     05:00
           01:23 pm (708) 600-3525 lncomins                  AU     01:00
           01 26 pm (888) 81 1-5279 lncoming                 AU          :00
                                                                    01          \4-
           02:15    pm   ITOB)203-2820      tncrming         AU     12:00
           02:53    pm   (708) 600-3525 Incoming             AU     01:00
           03:02 pm            902-8060 CH|CAGO,|L           AU     02:00
           03:28 pm      (708) 986-5301 lncomtng             AU     01:00
           03:30 pm      (708) 986-5301 BLUE|SLAND,|L        AU     01:00
           03:36 pm      (708) 986-5301 tncoming             AU     06:00
           04:26    pm   (312) 462-9200 tncoming             AU     09:00
           04:35 pm      (312) 462-9200 lncoming             AU     01:00
           05:40 pm      (312) 504-5794 lncoming             AU     01:00
           05:47 pm      (708) a46-5176 lncoming             AU     0l   :00
           05:49 pm      (708) 527-6530 lncoming             AU     04:00
           07:21    pm   (708) 574-6532 LA GRANGE,|L         AU     01 :00
           07:32    pm   (708) 574-6532 tncomins             AU     01:00
Oct   19   08:09 am      (708) 668-2937 lncoming             AU     01 :00
           08:11 am      (708) 762€679 tncoming              AU     01:00
           08:57 am      (23) 556-3018 CHICAGO,|L            AU     03:00
           08:59 am            510,0564 lncoming             AU     02:00
           09:10    am   (708) 897-8160 lncoming             AU     02:00
                                                             AU     10:00
           10:38 am (773) 556-3018 CHICAGO,|L                AU     01:00
           11:08 am (708) 668-2937 CH|CAGOHTS,|L             AU     01:00
           11Ogam (708)668-2937 tncoming                     AU     01:00
           11:55 am l7O8\ 5744197 lncoming                   AU     04:00
           12:12pm.- (773)556-3018          lncoming         AU     02:00
           12:23 pm (708)668-2937           tncoming         AU     01 :00
           02:20 pm (708)6746532            LA GRANGE,|L     AU     01:00
           02:21 pm (708) 574-6532          lncoming         AU     01:00
           02:46 pm (708) 574€532           tncoming         AU     01:00
           9?is8 pm (773) 147-1744          tncoming         AU     01:00
           02:59 pm (800) 2794268           lncoming         AU     01:00
           04:07 pm (708) 59$5527           tncoming         AU     0l:00

           05:48    pm   (708)   527-6530 lncoming
           05:54 pm              201.8723 ROCHESTER,IN       AU     02:00
             pm (773)766-4559
           07:37                            lncoming         AU     07:00
Oct 20 08:42 am (708) 692-35a2              LA GRANGE,IL     AU     01:00
       0900am (708)203-2820                 LAGRANGE,TL      AU     16:00
       09:2s am (773\302-1716               CH|CAGO,|L       AU     01:00
       09:47 am (708) 600-3525              tncoming                                                      Rate Type
                                                             AU     l0:00
           10:41    am   (708)203-2820      lncoming         AU     05:00                                 AU Anytime/Plan   Usage
           '11:11   am   (773)   556-3018   CH|CAGO,IL       AU     0l   :00                             CW CallWaiting

Call Details - (773) 297-6519 - Voice continues...
                    Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 53 of 76 PageID #:53



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                                                                                       Account Number: 1 52127837
                                                                                       Bill Period: Oct 03 - Nov 02,2017




Call Details - (773) 297-6519     - Voice ...continued

On At                   To / From             Deslinatlon     Rate    Mins      Cost
         11:12am (773t74d4343 CHICAGO,|L                      AU      05:00
        11:21 am (708) 600-3525 tncoming                      AU
        12:48 pm (708) 66&2937 CHICAGOHTS,|L                  AU      01:00
        12:49 pm (708) 66&2937 lncoming                       AU      01:00
        01:51 pm (888) 811-5279 lncoming                      AU      01:00
        0154 pm (404 947-9400 lncoming                        AU      05:00
        0222pm (708)574-6532 lncoming                         AU      02:00
         02:24     pm   (708)   57+6532       LA GRANGE,|L    AU      01:00
            pm (708) 574€532
        02:58                                LA GRANGE,|L     AU      01:00
      03:32pm (708)668-2937                   lncoming        AU      02:00
      0s:34 pm (708) 574€532                 LA GRANGE,IL     AU      01:00
      03:54 pm (7O8) 574-4197                LA GRANGE,|L     AU      01:00
      04:01 pm (708) 446-5176                LA GRANGE,IL     AU      01   00
      04:43 pm (On922-6On                    lncoming         AU      05:00
      0s:35 pm (708) 527-6530                HARVEY.|L        AU      02:00
      0s:37 pm (708) 600-352s                LA GRANGE,|L     AU      13:O0
Oct21 07:51 am (708)200-1548                 LAGRANGE,TL      NW/AU   01:O0
      08:57 am (708) 600-3525                lncoming         NW/AU   01:00
      01:44 pm (708) 574-6532                LA GRANGE,|L     NWAU    01:00
      01:45 pm (708) 57&6532                 lncoming         NWAU    02:00
      02:37 pm (888) 811-5279                Tott Free Cail   NWAU    01:00
      02:38 pm (708) 574-6532                LA   GRANGE,|L NWAU      0l:00
        Oq,rg    i pm
        04:34pm (708)200-1588                LAGRANGE,IL      NW/AU   01:00
        04144 pm (70815744197                lncoming         NW/AU   06:00
        08:10pm (708)200-1588                LAGMNGE,TL       NW/AU   01:00
Oct22   11:30   am (708) 200-1588 lncoming                    NwiAU   01 :00
        1   1:56am (773) 620-3786 lncoming                    NWiAU   09:00
         03:32 pm  (708) 5324440 TtNLEypARK,tL                NW/AU   0l:00
Oct 23 . 08:1 1 am (800) 274-6600 Totl Free Calt              AU      06:00
         08:11 am  (708)600-3525 tncoming                     CW/AU   17:00
         08:28     (800) 909-6600 Toll Free Cail              AU      01:00
         08:28am (800)274-6600 Totl Free Ca[                  AU      09:00
         08:50 am  (866) 629-4570 Tott Free Ca[               AU      08:00
         09:00am (404947-9400 ORLANDO,FL                      AU      01:00
         09:06 am  (708)510-0564 CH|CAGOHTS,|L                AU      01:00
        09:23 am                580-7554                      AU      04:00
                                                                      03:00
        10:06am (70A)276-5252                lncoming         AU      01:00
        10:10      am   (866) 550-5705       Totl Free Ca[    AU      05:00
        10:14      am   (708) 878-16s3       LA GR4NGE,|L     AU      02:00


          :10 am
        1 1             (773) 7294324 CH|CAGO,IL              AU      05:00
        1122am          (312) 414-9350 lncoming               AU      03:00
        11:39 am        (773) 440-0651 CH|CAGO,|L             AU      15:00
        12:12pm         (708) 733-2266 CH|CAGOHTS,|L          AU      01:00
        12:1 3 pm             689-7419 FOREST,|L              AU      01:00
        12:54 pm        (708) 921-8255 lncoming               AU      03:00
        01:01 pm        (773)7464343 tncoming                 AU      01:00
        01:11 pm (708)510-0564               tncoming         AU      04:00
        01:16 pm (773)7464343                                                                             Rate Type
                                             CHICAGO,|L       AU      01:00
        01:17 pm (708) 510-0564              tncoming         CWAU    04:00
                                                                                                          AU Anytime/Plan   Usage
        01:20 pm (407) 947-9400              ORLANDO.FL       AU      07:00                               CW Call Waiting
        0l:30 pm (407) 947-9400              lncoming         AU      08:00                               NW Night and Weekends

Call Details - (773) 297-6519 - Voice continues...
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                                                                                   Account Number: 1 52127897
                                                                                   Bill Period: Oct 03 - Nov 02, 2017

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Call Details - (773) 297-6519 - Voice ...continued

On At                    To/From            Destination    Rate    Mins     Cost
            pm (901) 550-2929 MEMPHIS,TN
         01:37                              AU                     02:00
      01:53 pm (70A)776-3252 FOREST,|L      AU                     01 :00
      02:01 pm (773')N84174 Incoming        AU                     02:00
      02:07 pm (708) 600-3525 LA GBANGE,|L  AU                     07:00
      02:11 pm (888)811-5279 lncoming       CWAU                   01:00
      02:30 pm (708)77*3252 lncoming        AU                     01:00
      03:07 pm (708) 574-6532 lncoming      AU.                    02:00
      0311 pm (708) 5746532 LA GRANGE,|L    AU                     01:00
      03:40 pm (7oa)Tt6-3252 FOREST,IL      AU                     01:00
      03:55 pm (708)5744197 LA GRANGE,|L    AU                     02:00
      04:23 pm (312')225$200 lncoming       AU                     01:00
      04:23 pm (708) 200-1588 lncoming      CW/AU                  01:00
      04:51 pm (773) 67&3906 CHICAGO,IL     AU                     06:00
      04:55 pm (312\Tl+4912 lncoming        CW/AU                  03:00
      04:58 pm (773) 678-3906 CHICAGO,|L    AU                     01:00
      05:20 pm (708) 600-3525 lncoming      AU                     03:00
      05:33pm (708)668-2937 tncoming        AU                     01 :00
      05:55pm (708) 510-0564 lncoming       AU                     02:00
      06:20 pm (nq 808-4174 lncoming        AU                     0l:00
Oct24 08:10am (404947-9400 ORLANDO,FL       AU                     01 :00
      08:24 am (708) 44&5176 LA GRANGE,|L   AU                     02:00
      0827 an  (407) 947-9400 lncoming      AU                     07:00
      09:59 am (708) 600-3s25 LA GMNGE,IL   AU                     '15:00
      10:23 am (708) 381{063 OAK FOR SO,|L  AU                     08:00
       0:45 am
         1     (708) 897-8160 lncoming      AU                     01:00
      10:46 am (708) 465-0578 OAK FOR SO.|L AU                     01:00
      10:59 am (708) 465-0578 lncoming      AU                     02:00
      l1:01am (708)837-8160 BLUEISLAND,|L   AU                     01:00
         17 am
         1 1   (773) 507-5301 tncoming      AU                     03:00
      11:40 am (708) 381-8063 OAK FOR SO,IL AU                     03:00
      12:17 pm (708) 44$5176 lncoming       AU                     02:00
      01:08 pm (4o7)92.-6on K|SSIMMEE,FL AU                        O2:oo
     #o
     J   0120    pm      (nq746-0343 lncoming              AU      01 :00


         03:08   pm      (708)   986-5301   lncoming       AU      06:00
         O4:29           (708) 986-5301                    AU      03:00
                                                           AU      02:00
         04:37   pm      (708)   W+4197     LA GRANGE,|L   AU      02:00
         05:16pm (708) 574-4197 lncoming                   AU      04:00
       05:24 pm  (773) 936-4633 CH|CAGO,|L                 AU      06:00
       05:29 pm  (708) 5744197 LA GBANGE,|L                AU      01:00
       06:57 pm  (7OB) 574-4i97 LA GHANGE,|L               AU      01 :00
Oct 25 08:13 am  (800) 853-8516 Toll Free Cafl             AU      06:00
       08:19am (770)789-8416 ATLANTANE,GA                  AU      14:00
       08:37 am  (800) 746-2936 Tolt Free Cail             AU      10:00
       08:49 arn       274-6600 Toll Free Call             AU      43:00
       08:54 am  (708) 878-1633 lncoming                   CW/AU   0l :00
       09:48 am  (708) 465-0578 OAK FOR SO,|L              AU      01:00
       10:01 am  (708) 465-0578 OAK FOR SO,|L              AU      01 :00
       10:04 am  (708) 465-0578 OAK FOR SO,|L              AU      01 :00
       '10:19 am (708) 921 -8255 lncoming
                                                                                                       Rate Type
                                                           AU      03:00
       10:22 an  (708) 574-4197 tA GRANGE.|L               AU      01 :00
                                                                                                       AU   Anytime/Plan Usage
       10:28 am  (708) 600-3525 LA GRANGE,|L               AU      03:00                               CW Call Waiting

Call Details -   (nq   297-6519 - Voice continues...
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                                                                                          Account Nu mber: 1 521 27 837
                                                                                          Bill Period: Oct 03 - Nov 02,2017




Call Details - (773) 297-6519 - Voice ...continued

On      At                   To/From            Destlnatlon      Rate    Mins      Cost
         l038am              008)465-0578       OAK FOR SO,IL    AU      01:00
         l1:00am             (773)469-7670      lncoming         AU      02:00
         '11:07        am    C70a;   +6545rt    OAK FOR SO,IL    AU      0l:00
         11   :r 1
                       'am   00e) 574-4197      lncoming         AU      03:00
         1   I:50      am    (708) 921€255      lncoming         AU      03:00
         12:18         pm    (312) 462-9200     lncoming         AU      14:00
             pm
         12:51               (708)   59$5527    LA GRANGE,IL     AU      02:00
         01:13pm             (708)53$0077       lncoming         AU      01:00
         0126   pm           (nq729-0324        lncoming         AU      01:00
         01',27 pm           (708) 986-5301     lncoming         CWAU    02:00
         0128pm              (773)398€702       lncoming         AU      05:00
         01:57         pm    O0e16545rt         lncoming         AU      02:00
         02:35         pm    (773)7294324       CHICAGO,IL       AU      04:00
         02:52         pm    (708) 600-3525     LAGBANGE,IL      AU      07:00
         03:08pm             (708)600-3525      lncoming         AU      03:00
         04:44pm             l773r74f.0B43      lncoming         AU      01:00
         0s:04 pm            (708) 574€532      lncoming         AU      02:00
         05:19 pm            (708) 445-5175     lncoming         AU      02:00
         05:20         pm    (708) 668-2937     lncoming         Cw/AU   01:00
         06:33         pm    (708) 5744532      I.AGRANGE,IL     AU      01:00
Oct26    10:00 am            (708)   t4-4197    LAGRANGE,IL      AU       02:00
         l0:07 am            (708) 6m€525       LAGRANGE,IL      AU       05:00
         10:12am             (8O0)2114727       Toll Free Call   AU       01:00
         10r3am              (8o0\2114727       Toll Free Call   AU       01:00
         1     am
             0:1   7         (7OB)   203-2820   LA GRANGE,IL     AU       15:00
         l0:52 am            (708) 200-1588     LA GRANGE,IL     AU       01:00
         10:52         am    (708) 600-3525     LAGRANGE,IL      AU      '02:00
         11:19am             (Z/3)297€810       lncoming         AU       01:00
         11:51         am    (708)600-3525      lncoming         AU       01:00
         12:07         pm    (708) 527€530      lnoming          AU       02:00
         12:11 pm            (708) 527-6530     lncoming         AU       02:00
         12:11         pln   (708)595-5527      lncoming         CWAU     01:00
         12:16         pm    (708) 595-5s27     LA GRANGE,IL     AU       01:00
         12:38prn            (773)808-4174      lncoming         AU       01:00
         01:47         pm    (815) 973-3339     DlxoN,tL         AU       02:00
         02:13 pm                               Toll Free Call   AU       01:00
         02'22                       746-0343   CHICAGO,IL       AU       02:00


         03:33 pm (773) 615-4367                lncoming         AU       03:00

r.       03:41 pm (e88)811-5279
         04:01 pm (773)7164U3
                                                lncoming
                                                CHICAGO,IL
                                                                 AU       01 :00      *
                                                                 AU       0l:00
         04:11pm (nq9714429                     lncoming         AU       02:00
         04:12pm (708)53$007                    lncoming         CW/AU    01:00
         04:129m (n$9714429                     lncoming         AU       01:00
         04:13pm             {nq7$4343          CHICAGO,IL       AU       01:00
         0s22 pm             lnq676-4367        CHICAGO,IL       AU       19:00
         06o3 pm             (708) 986-5301     lncoming         AU       02:00
         06:1 1        pm    (708) 985-5301     lncoming         AU       02:00
         08:01         pm    (708) 574€532      lncoming         AU       02:00
         08:32         pm    (708) 574-6532     lncoming         AU       02:00
Od27     08:08         am    008\T16-3252       lncoming         AU       02:00
         09:27         am    (850) 778-0851                                                                   Rate Type
                                                lncoming         AU       07:00
         09:41         am    (4O7)922-60n       lncoming         AU       04:00
                                                                                                              AU   Anytime/Plan Usage
         10:04         am    (773) 440-0651     CHICAGO,IL       AU       01 :00                              CW Call Waitinq

Call Details - (773) 297-6519 - Voice continues...
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                                                                                           Accouni Number: 1 521 27 837
                                                                                           Bill Period: Oct 03 - Nov 02, 2017

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Call Details - (773) 297-6519 - Voice ...continued

On At                     To/ From           Destination


                                                             CW/AU    01:00
         10:28   am (815) 341-7949 JOL|ET,|L                 AU       02:00
         10:33am (770)789-8416 ATLANTANE,GA                  AU       08:00
         1 1 :16 am - (708) 200-15S8 LA GRANGE.IL            AU      02:00
         1I20 am (708) 510-0564 CHICAGOHTS,|L                AU      01:00
         1123 am      (773)746-0349 CH|CAGO.IL               AU      03:00
         11:26am (888) 811-5279 Toll Free Calt               AU      01 :00
         1 1 30 am    (708) 510-0564 lncoming                AU      02:00
         11:58am (7/3)9364633                                AU      02:00
         '12:36 pm (773) 556-3018
                                     tncoming                AU      01 :00
         12:39 pm     (773)746-0343 lncoming                 AU      02:00
         12:45       pm   O73)746-034s       CH|CAGO,|L      AU      01:00
         01:40       pm   (404  947-9400     lncoming        AU      07:00
         O1:12            (773) 746-0343     lncoming        CWAU    01:00
         O2:O2pm                746-0343     CH|CAGO,IL      AU      03:00
                                                             AU      01:00
                                                             AU      03:00
            pm (888) 811-5279 lncomtng
         03:20                             CW/AU                     01 :00
            pm (nq7464349 CH|CAGO,|L
         03:21                             AU                        01:00
      03:23 pm       746-0343 CHICAGO.|L   AU                        02:00
      03:35 pm (312) 296-6799 tncomins     AU                        07:00
      03:58 pm (708) 5744197 LA GRANGE,IL  AU                        02:00
      05:12pm (708)776-3252 FOREST,|L      AU                        02:00
      05:35 pm (773) 398€702 lncoming      AU                        01:00
      05:39 pm (773)746-0943 CH|CAGO.|L    AU                        01:00
      05:49 pm (7OB) 574-4192 LA GRANGE,|L AU                        01:00
      07:15 pm (708) 574-6532 LA GRANGE,|L AU                        02:00
      08:01 pm (773)494-6585 tncoming      AU                        04:00
      09:03 pm (23) 398-8702 tncoming      NWAU                      12:OO
      09:15 pm (77317294324 CHICAGO,|L     NWAU                      06:00
Oct28 09:3Fam (708)600-3525 LAGRANGE,IL NWAU                         OS:OO        --   -
         OS:Sgam                                            ffi
         10:06       am   (e15)   341-7949 JOL|ET,|L         NWAU    OI,OO
         10:20 am                 776.3252 FOBEST,IL         NW/AU   01 :00
         10:26am (708)200-1588               LAGRANGE,TL     NW/AU   03:00    -
         10:28 am                 574.4197   LA GRANGE,IL    NWAU    01:00
         '10:30 am
                                                             NW/AU   01:00
         I1    am (888F81 1-5279 To[ Free Cail
               :08                             NW/AU                 01:00
        11 :09 am (708) 724-9739 tncoming      NWAU                  Oi   ,OO          -
        '11:11 am (7OB) ZSZ-o
                                                                                       -
        11:13 am  (773) 440-0651 CH|CAGO,|L    NWAU                  15:00
        1128am (708)600-3S2s LAGRANGE.TL       NWAU                  07:00
        I :35 am
          1       (815) 341-7949 JOL|ET,|L     NW/AU                 01;00
        11:37 arn (708) 574-6532               Nw/AU                 02:00
        0236pm (708)574€ss2 LAGBANGE,TL        NW/AU                 10:00
        02:48 pm  O08) 574-5532 LA GRANGE,|L NWAU                    01   :OO          .
        02:49 pm  (798) 574-6s32 LA GRANGE,|L NWAU                   01 :00
        02:57 pm (708) 574-6532 LA GRANGE.|L   NWAU                  01:00
        03:10 pm  (708) 574-6s32 LA GRANGE.IL  NW/AU                 01:00
        0342pm (708) 600-3525 tncoming         NW/AU
                                                                                                              Rate Type
                                                                     10:00
        03:52 pm  (708) 5746532 l-A GRANGE,IL  NWAU                  01 :00
                                                                                                              AU Anytime/Plan   Usage
        03:56 pm  (224) 336-2030 NORTHBROOK,TL NWAU                  07:00                                    CW CallWaiting
                                                                                                              NW Nightand Weekends

Call Details - (773) 297-6519 - Voice continues...
                         Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 57 of 76 PageID #:57



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                                                                                               Account Number: 1 52127837
                                                                                               Bill Period: Oct 03 - Nov 02, 2017




Call Details -         (nq   297-6519 - Voice ...continued

On At                         To / From            Destinatlon     Rate        Mins     Cost
           04:14 pm           (773\7464343         lncoming        NW/AU       01:00
           04:45 pm            (708) 495{281       lncoming        NWAU        02:00
           06:14       pm      (708)776-3252       FOBEST,IL       NWAU        02:00
             pm
           06:16               (7O8't   5744197    LAGRANGE,IL     NWAU        01:00
      06:42 pm                 (708) 574-6532      LAGMNGE,IL      NW/AU       02:00
      06:45pm                  (708) 574€532       LA GRANGE,IL    NWAU        01 :00
      06:46pm                  (708) 574-6532      lncoming        NWAU        0l:00
Oct29 10:56am                  (708)200-1588       LAGMNGE,IL      NW/AU       02:00
      I 1:31 am                (708) 600-3525      LAGMNGE,IL      NW/AU       15:00
      11i47 an                 (312)    414-9350   CHICAGO,IL      NW/AU       01 :00
      11:48 am                 (312) 414-9350      lncoming        Nw/AU       01:00
      12:16 pm                 (708) 921-8255      lncoming        Nw/AU       03:00
           t2:57       pm      (708) 574€532       LA GHANGE,IL    NW/AU       02:00
           02:15 pm            1708\ 5744197       LAGRANGE,IL     Nw/AU       05:00
           02:39 pm            (312) s99€514       CHICAGO,IL      NW/AU       01:00
           02:40 pm            (312) 599€514       C|{ICAGOJL      NWAU        05:00
           03:43 pm            (773) 766-45s9      lncoming        NW/AU       05:00
           05:26 pm            (708) 600-3525      lncoming        NWAU        11:00
Oct   30   08:19       am      (708) 600-3525      lncoming        AU          04:00
           08:43 am            (312)s99€514        CH|CAGO,|L      AU          02:00
           08:44 am            (708) 600-3525      LA GRANGE,IL    AU          02:00
           09:32am             (708) 595-5527                      AU          02:00
           09:33 am            (708) 595-5527      LA GRANGE,IL    AU          03:00
           09:40 am            (312)    599-8514   CHICAGO,|L      AU          01:00
           09:54 am            (708) 200-1588      LA GRANGE,IL    AU          01:00
           10:02       am      (708) 733-2266      CHICAGOHTS,IL   AU          01:00
           'I    am
                0:03           (708)    689-7419   FOREST,|L       AU          01:00
           10:13 am            (708) 532-0937      lncoming        AU          03:00
           12:03       pm      (708) 668-2937      lncoming        AU          02:00


              pm
           12:50               (708)    689-7419   lncoming        AU          01:00
              pm
           0l:14               (312)    599-8514   CHICAGO,|L      AU          01:00
       0t:41 pm                OA8l.574-4197       LAGRANGE,TL     AU          02:00
       02:29 pm                (888) 811-5279 lncoming     AU                  01:00      1)
                                                                                          I
       AO.Od  pm
       02:39 6E                '6r^\ 599-8514 lncoming
                               (312) EAA 6Pf /
                                                           AU                  01:00
       03:05 pm                (708) 574-6532 lncoming     AU                  02:00
       03:34 pm                (708) 600-3525 lncoming     AU                  O1:OO
       03:36 pm -              (708) 600-3525 LA GRANGE,IL AU                  01:00
       05:05 pm                (77q81p,8-4174      CHICAGO,|L      AU          01 :00
       05:25 pm                (708) 574€532       lncoming        AU          01:00
       05:29 pm                (312) 599-8514      CHICAGO,|L      AU          02:00
       05:48 pm                (773)97'l-0429      CHICAGO,IL      AU     -A   03:00
       07:03 pm                (708) 5744197 LA GHANGE,|L   AU                 0l:00
Oct 31 07:06 am                (312) 824-9919 lncoming      AU                 14:00
       09:30 am                (7oB) 574-4197 LA GRANGE,|L  AU                 06:00
       11 :07 am               (708) 953-7999 lncoming      AU                 05:00
       11 :15 am               (708) 527-6530 lncoming      AU                 01 :00
       11:55 arn               (708) 532-0937 TINLEYPARK,IL AU                 0700        -
       '12:31 pm               (708) 200-i588 LA GRANGE,|L  AU                 02:00
       12:3s pm                (708) 5744197 LA GRANGE,|L   AU                 01 :00
       12:34pm                 (708)921-8255       lncoming        AU          05:00
       02:06 pm                (773)716-0343       tncoming
                                                                                                                   Rate Type
                                                                   AU          03:00
       O2:41 pm                (708)    574-5532   LA GRANGE.|L    AU          01:00                               AU Anytime/Plan   Usage
       03:16 pm                (708)    495-0281   Incoming        AU          0l:00                               NW Night and Weekends

Call Details - (773) 297-6519 - Voice continues...
                   Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 58 of 76 PageID #:58



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                                                                              424 ol 25
                                                                              Account Number:   1   521 27 837
                                                                              Bill Period:Oct 03 - Nov 02, 2017


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Catl Details - (773) 297-6519    - Voice ...continued

On      At            To / From              Destination      Rate   Mins
        03:34 pm              7:76-3252                       AU     01:00
        04:21               316-2432         lncoming         AU     01:00
        04:48    pm   (708) 595-5527         lncoming         AU     04:00
        04:s2    pm $on922-6on               KISSIMMEE,FL     AU     02:00
        04:s6    pm
                  1773)764343 CHICAGO,IL        AU                   02:00
        06:33    pm       574-6532 LA GRANGE,IL
                      (708)                     AU                   02:00
       07:O2Wn (e14) 308-8307 lncoming          AU                   01:00
Nov 01 09:15 am   (708) 600-3525 lncoming       AU                   15:00
       09:53 am   (312) 864-8200 CHICAGO,IL     AU                   01:00
       09:54am (217)782-s243 SPRINGFLD,IL       AU                   03:00
       I 0:16 am  (708) 465-0578 OAK FOR SO,IL  AU                   01 :00
       10:19 arn  (nq971-0129 CHICAGO,IL        AU                   16:00
       10:40 am   (773) 556-3018 CHICAGO,IL     AU                   01:00
       10:50 am   (773) 556-3018 lncoming       AU                   02:00
       11:21 am   (773)744343 CHICAGO,IL        AU                   02:00
       11:28 am   (708) 921-8255 lncoming       AU                   02:00
       11:44am (708) 921-8255 lncoming          AU                   05:00
         1:52 am
         1        (708) 510-0564 lncoming       AU                   01:00
       11 :57 am  (708) 600-3525 LA GRANGE,IL   AU                   01:00
         1 :s8 am
         1        (708) 600-3525 LA GMNGE,IL    AU                   0l :00
       12:24 pm   (708) 203-2820 lncoming       AU                   02:00
       12:27 pm   (708) 465-0578 lncoming       AU                   02:00
       12:41 pm   (612) 402-1854 lncomins       AU                   02:00
       12:42prn (606) 47+7692 lncoming          CWAU                 11:00
       12:55 pm   (708) 595-5527 lncoming       AU                   02:00
       01:36 pm   (708) 600-3525 lncoming       AU                   01:00
       01:54 pm   (77S) 902-8060 CHICAGO,IL     AU                   05:00
       0l:59 pm (612) 402-1854 TWINCITIES,MN AU                      03:00
       02:07 pm   (708) 495-0281 Incoming       AU                   01:00
      ,02:29pm (773)808-4174 lncoming           AU                   01 :00
       03:53 pm   O08) 600-3525 lncoming        AU                   04:00
       04:19 pm   (850) 7/8-0851 lncoming       AU                   11:00
       04:40 pm   (773) 76&4559 CHICAGO,IL      AU                   02:00
       04:114 pm  (773) 7664559 lncoming        AU                   01:00
       06:41 pm   (708)574-4197 LAGMNGE,TL      AU                   02:00
       07:35 pm   (708) 532-2665 TINLEYPARK,IL  AU                   03:00
       10:05 pm _ (773) 302-6519 lncoming       NWAU                 07:00
Nov 02 08:32 am   (773) 766-4559 CHIQAGO,IL     AU                   01 :00
       09:17 am   (708) 580-7554 lncoming       AU                   01:00
        l1:28 am (773) 756-4559 CHICAGO,IL      AU                   Ol:00
       12:18pm (773)302-6519 CHICAGO,IL         AU                   01 :00
       12:18 pm    (773) 302-6519 Incoming      AU                   01:00
        12:20 pm  (606) 474-7692 lncoming       AU                   01:00
        1222pm (ffi6) 474-7692 GRAYSON,KY       AU                   01:00
        12:26 pm   (708) 574-4197 LA GRANGE,IL  AU                   02:00
        12:28 pm   (708) 5744197 LA GRANGE,IL   AU                   01 :00
        12:47 pn   (773) 676-4367 CHICAGO,IL    AU                   01 :00
        12:49 pm   (773',) 469-7670 CHtCAcO,tL  AU                   01 :00
        12:s1 pm   (7731676-4367 CHICAGO,IL     AU                   02:00
        12:56 pm   (312) 972-9016 CHICAGO,IL    AU                   04:00
                                                                                                    Hate Type
        01:08 pm   (708) 921-8255 lncoming      AU                   03:00
        01:16 pm   (23) 302-6519 lncoming                                                           AU ,Anytime/Plan Usage
                                                AU                   01 :00
        01:59 pm   (217)782-1283 lncomins       AU                   03:00
                                                                                                    CW Call Waiting
         02:33   pm   (8e8) 81   1   -5279   Toll Free Call   AU     01 :00
                                                                                                    NW Night and Weekends


Call Details - (773) 297-6519 - Voice continues...
                   Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 59 of 76 PageID #:59
                                                                           425 of 25
                                                                           Account Nurnber: 1 521 27 837
                                                                           Bill Period: Oct 03 - Nov 02, 2017




Call Details - (773) 297-6519 -   Voie ...antinued

On      At           To /   Front         Destination             Cost
        02:33 pm        1-5279
                     (888) 81             lncoming        01:00
        05:38 pm (708) 595-5527           LA   GMNGE,IL
        05:45 pm (312) 296-6799           CHICAGO,|L      03:00
        05:53 pm (312) 296€799            CHICAGO,IL
        06:29 pm (708) 600-3525           LA   GMNGE,|L   02:00
        06:52 pm (708) 574{532            LA GRANGE,|L    01:00




                                                                                               Rate Type
                                                                                               AU Anytime/Plan   Usage
                    Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 60 of 76 PageID #:60
                                                          Coniact Us                                                       l of 5
                                                    trl   sprlnt.corn/contactus   L 1-88.2114727
                                                                                        (*2 from your Sprint Phone)
                                                                                                                           Account Numbefi 1 521 27 837
                                                                                                                           Blll Period: Nov 03 - Oea02,2017

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       Last Bill                                             This Bill                                                Total Amount
       Previous Total Due                   $170.09          Account Charges                          $1::84

      Paymenton 11/14-Thank
      youl
                                           -$171.00
                                                             :l"l'l:::io'"::                         tll'*
       Balance Fomard
                                                             tln:t!r*:::es                             $l*            Let's talk
                                             -$0.91
                                                             Government Taxes & Fees                   $5.05          about thls bill
                                                             Total Charges ltris Bill              $170.92            You made changes b your account this
                                                                                                                      month that can lmpact your bill total. Here's
                                                                                                                      what happ€n€d:
                                                                                                                      .   Based on 3 months of plan usage, a new
                                                                                                                          Historical Usaga Graph secton has been
                                                                                                                          added to thls lnvolce.




                                                                                                                            Last   hree monhs (new charges)
    f,|   Pay onllne
          sprint.coilmysprint
                                L    P"ybyPhone
                                     1-800-784-2608
                                                                       EK   Pay by Mall
                                '    ('3 lrom your Sprint Phone)
                                                                            Fleturn the form below with
                                                                            a check payablo to: Sprint


    Please see lhe News and Notices section on page 2 for important information and changes to Sprinfs
    policies.                                                                                                              Oct               Nov



          PO Box 629023 El Dorado Hills, CA 95762                                                                Detach and return fiis remittance form with your payment.
                    '3                                        ETTEI

                                                              ffi
                                                                                                          Make checks payable to Sprint in U.S. dollars. D0 NoT SEND CASH.
                                                                                                                                                Account Number 1 52121 831


          sprint)'                                            Scan to pay          Amount Due by Dec 26

                                                                                           Amount Enclosed




          P0 Box 4191
          Carol Streamr IL      60197-4191




           L5el,a?83? B000E0I,?01E u0B00u0Bu9Lu uu0uBul,?0u1,?
                           Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 61 of 76 PageID #:61

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                                                                                                                             Account Number: 1 521 27 837
                                                                                                                             Bill Period: NovOtl - Dec(n,2017




Cail Details - (7N) 57+651P - Volce ...continud

On At                            To/ From               Destlnatlon                     Rate            lullns        Cost
           04:02 pm              (312)   8A+3227        CHTCAGO,|L                      Nw/AU           01i99
           04:09 pm
                               .. -glllglco:L!
                                .-e1?!9_$_122l                                                          01 :00
           012-9 tI-_ _!231391FMPPte
                                                                                        llw{41{_        q1_i90
           04:.l8 pm             (7731322-2975          lncoming                        NWAU            01:00



Call Detalls - (773) 297-6519 - Voice

On         At                    To/Frcm                D,estlnatlon                    Rat6            MIns          Cost
Nov   03       am (708) 6@-3525
           08:tl4                                       lncoming                        AU              04:00
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           ogi*rn-
                            -*(9119_99ts.. .. l{,9lNGF,lf                        -    _-19,.,
           P:11?[-_{ggl!!]99"?._                        lrprite                        ,{y
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           lM_tt                 {?0-9,1-93-1:s2S ll--T'r_s_   . "                      fu-             lqi-o_o
           !-?:97-ry,.*(?-1-21-ry19o0-                  9!l-c-19-o,l! .lll                              01 00
           12:l3pm (612)402-189 lncoming                                                AU              droo
 .         12:15pm (612)402-1854 lncoming                                               AU              03:00
           13i:_p1 _.-19_131$}909-0                     cHrcAGo,rL                      AU              0500
                       (612J 402-1854 TWNctrlEs,MN AU
           9L[S,                                                                                        01 00

           91i-19!!- _-lEoe1'g]!* __ _ .E!Lis:-931                                                      01 00

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           10:05    am           (60O)   316-0203       lncoming                                        02:00
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           01j?9m_ _             {U8ll$qg1 - _LAgllllGi,ll-_                            NWAU            oroil
Call Details - (773) 297-6519 - Voice continueE...
                  Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 62 of 76 PageID #:62
                                                                                                                A7 of 18
                                                                                                                Account Number; 1 521 27837
                                                                                                                Bill Period: Nov 03 - Dec02,2017

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 call Details - (773) 297-6519 - Votce ...continud

 On At                   To/ Frcm              Destlnation             Rale               Mlns           Cost
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          01:42   pm    (708)   495-0281       LA GRANGE,|L            NWAU               91,00
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         019-9!T .I7991-S#II ,_ I*!!ns                                AU                 0l:00
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                 - (?_s)-99?fl69 lncomins
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         04:25 pm (708) 574-6532 tncoming
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         oJ:!1PT .-q?r9l-q9*!1                                                                                                   AU
                               - hp,'!ns                              AU                 0l:09                                        Anytime/Plan Usage
                                                                                                                                 CW CallWaiting
         9ti563-r .t7ggtll-tsg? r_AGMNGE,TL                           AU
                                                                                        -91'90
         062t pm (888)8ll-5279 To[FreeCail                                               01:00                                   NW NightandWeekends

Call Daails -   Wg)   297-6919   - Voice continues-..
                          Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 63 of 76 PageID #:63

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                                                                                                                                               Account Number: 1 521 27 837
                                                                                                                                               Bill Period: Nov 03 - OecO2,2017




Cail Details - (773) 297-6519 - Voice ...continud

On          Ai               To / From                   Degtlnallon                          Rale                   lllns              Cost
            10:17 am         (23)    957-5107            CHTCAGO,TL                       AU                         9-1i99
            10:36 am         (708)   921€255             SUMMIT,L                                                    o1:99
            '!1i_o.e_g!,..*-9991_19*{-564                                                     AU                     05:00
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            11:12am (312)863-28@                         lncoming
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                                                                                                                     02:09

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            oq#,pr...-r.9-9_8-l-3.P:7,4j h99rin9                                                                     09'00
 Nov   10   08:'14    am     (800)   27'l-6600           Toll Fr{re Call                                             13:00
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            o_gl_e*?L*-.("7!-9LIgjs-!.9_!!V_F.RQIDE:|L-                                                              01:00
            09i9€__am._
                             -q_091:599--q52!*   .       !$ 9llI9E,!L                         AU                     oJ'99
            10:5il    am     (m0)    909-9525            Toll Frce Call                                              05:@

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            12i27pm          (708)600-3525               lncoming                             AU                     03:00

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            02i42D,,I (z3) 746-0343 lncoming                                                  AU                     01:00
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            06,9.?    pT     (?9 96240-5_9               9ll!9_A99,!L                         AU                     oioo
                                                                                                                                                                        AnytimE/Plan Usage
                                                                                                                                                                   CW Callwaiting
            o0_:!!.qg . 979)-993.:195,q lpln|tS                                               AU_                    02:00


 Call Details -       W3)   297-6519   - Volce contlnues...
                    Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 64 of 76 PageID #:64
                                                                                                                                        410 of 18

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Sprinf
                                                                                                                                        Account Number: 1 521 27 837
                                                                                                                                        Bill Period: Nov 0I) - OecO2,2017




Call Ddails - (775) 297,-6519 - Volc€ ...@ntinued

On At                          To/ From                Destlnallon                      Rate                    lilns            Cost
          08:10pm (708)571-6532                        lncoming                                                 01:0o
N;;ii     1?i19_p.8"--,j1991_-e*21:8_2_S-......|$orins
          0?:33     pm         (7OB)   571-65i12       l-A GHANGE,IL                                            02:00
          g?,$pt_             _-g_Q-SZ-!*l             lncoming                                                 01:00

      9J:9!I . .".-lllllglI_:}30_!,,_ lrcorins                                                                  oa,oo
      g4illpr *,lI9LI1"tgF? lt"o_rits                                             ---
                                                                                        Nw/AU                   9l ioo
      0528 pm (ru8) 57+6532 LA GRANGE,IL                                                r.irwlnu                9?i99
      ,0,i:_43!I .-..gs)ilt1,!-91 . LAgFAN,c!:r!                                        !l_w-l-u-               _01,00
      9_5ii1pr1 .. ""9-rr,?9_*s2 I9n_E9I1!!".                                           NwlAU                   01 :00
Nov12 !.8!9!f-___gfl_s1:99o| 9!-.r!c"l9o,!!                                       _,    rysil-,                 9:1,00
      99?93["=*gtrLryI-530_1 [Pgry                                                      NWAU                    01 :00
          09:29am (7rg)507-5801 lncoming                                                                        orso
          9_9!9!r _j7"9)g-_4tF_2 . . .lAgllNgE&                                                                 01 :00
          06:38     pm         (224)   3il&2030        lncoming                         Nw/AU                   04.ioi
          gtillpr --* .el-21_5_qr-9911- .. _ l,llr-nr!e._                               Nw/AU                   (N:00
          glilq.pr __-q"r).g.tsn, _ . $ g,urygE,!!                                      Nw/AU
                                        -
          _0]3-6_er_"'- (?_3-l'Jg9F-1 " 9!1-c49-o,1!                                                            ogj00
          91?9m_._ -(19197-1.9S_2. LAGMNGE,TL                                                                   01i00
          oz,so31              fgfii_|gei             .,.r*r!"q                                             ,g?i-oo_
          07:32     pm (23),f40-0651                   CHICAGO,IL                                               01:00
          911-3-"qr_                   .
                               gfL-w:"99*              Ip$ns                                                    02:0O

                      --q,q8l-57*g*"?_ .
         0.2.19fl!_..                                  !t*Tilq.                                                 05:00
Nov   13 oL!?-elri       __   _l?:?)J7#s:2    ."-. -   lpfllg                           AU                      02,!9
          08:08am..-"-(708)60G3525                     lncoming                                                 12:CX)

          09,!q-?!1-.,-1ru199:3P-9
          1-0i9-1
                                              -        lAgfllgE
                    :I,--.. _{I.]_?_3_11f_qE_ ll:eflt-s_
                                                                         LL
                                                                                        AU                      05:00



          -Iq!._qI| _Lq12l7J41g:? .                                                     Ay*
                                        gl]l_c"lgg,l!                                                       1   01,00
                                                                                               -
          llitl-lr    _(7*3)-999:9918 _ Ferins-
          t!fl-q11-_-_ (z9t)gzt-P..E
                                                                    "                   tv_.        .
                                                                                                                01:00


          01:41  pn
          01 :42 pm
                               (8t16)rg1&2432
                          1-5a79 Toll Frse Catl
                               (888) 81
                                                       lncomins
                                                       ?oll.Free Ca[
                                                                                        AU
                                                                                        AU
                                                                                                                or;oo

                                                                                                                91tP"
                                                                                                                01 :00
                                                                                                                             rx
          9l4eP[ .€rl911:*f1_ Iglllr-e_9.:!l
          9!.-!9n __q!-|1!3:e_e1!- cHrcAGo,rL
                                                                                        AU                      01

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                                                                                                                             f
          olsq3' iZSiEf+2.q1 -1"*;ir,e                                                  CWAU
          0229 pm (23) 344€962 CHICAGO,IL
                                                                                        .ll'                    91,00
          gJiPJpr __1,7_tr_).119-!-z$_ llrgnip                                          AU                      02:00
          9-$q,Ptk*"llqqllt!?80 _]!er!e                                                                         9!:oo
                                                                                                                01 00

                                                                                                                orolt'
          9,6_:99_ptl"   -. __-q9_L-q{--9!{   *        9F!41!D_9,       l!                                      05:00

          S"i8P.T. . _-(S1"91"?:-{99
Nov14 P:11_g . $Fl_Lq_2112
                                                       ll*rle           _.   _
                                                                                                                01:00
                           " "r-9rrir:9e!!
                                                                                                                01:00

          Sj19:T*-- _9rI-q1LF..I9                      r-qllFlgecatt                                            01 :00
          08:138m              (888)   811-5479
                                                  -    Toll Free Call                                           01:00

                                                                                                                9-l

               -_!fl-9Jl:sP- _ l"n_qg.i!s
          0_9199[                                                                                                  '99
                                                                                                                05:00
          0929am (719)494-6585 lncoming                                                 AU                      91i9!
          99:99.-eI--         *grlg-qrq6]              llP4ns,                   ----;vr;t,-            "       9-1"9.0,
                                                       c.!!cAGo,rL
          -09.,P*.. _((.qle7-919p]-                                                  AU                         01:00
                                                                                                                                                           Rate Type
          09:33an              (773\   191-1729        CHICAGO,IL                       AU                      01 :00
          0936 am
                                                                                                                                                           AU   Anytime/Plan Usage
                               17731494-1729           CHICAGO,IL
                                                                                 --     AU
                                                                                                                99,00
          0_9,J?gt_                                                                                                                                        CW Callwaiting
                              -_(!-9ll|6:-$,7          Incoming                         Cwn0                    02:00
          qs"'11!T,gp..ll$2:9619              .   .    nry_E-1-slDFrlL                                          oido                                       NW Night and Weekends


Call Detalls - (773) 297-6519 - Voice continues...
                         Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 65 of 76 PageID #:65



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Sprinf
                                                                                                                                            A12 of 18
                                                                                                                                            Account Numberi 1 521 27837
                                                                                                                                            Bill Period: Nov 03 - OacO2,2O17




Call Details - (7/3) 297-651I - Voice...continued

On At          To/ From       Ilestlnatlon                                                                Rat€            Mlns       Cost
Nov17 99l1ql"-_*.ee).79iff7-1 lTgrhg_
                                                                                    "

           L0i9,8iI      -."_     -ggqq?g:!-ry9       ..
                                          l{ gRll'IgF,lL        _
                                                                                                                          03:00

           llel.a:In "._13-1)j'.16."{919 cl-l9o:ll-                                                       fu-             oz,p0
           l1i3-9,1I t1.9_q31191 .ltPgls .                                                                f!1,            02s0
           12:21 pm (708) 57,1.{197 tA GMNGE,|L                                                           AU              oi 0o
           0129pm (40Z)947-9400         _tneryils
                   pm                      Jl_1:!?I9*__                                                                   01:00
           9?:91                                                _Bgritq
           04:16   pm--_QE)
                        (708) 921-8255                              SUMMIT,|L                             AU

           s-ig    p9_,.* _gz-3.)f1l9919 * _-                       llerre                                                91,00
           0826    prlr            (rrc)   746-0343                 CHICAGO,|L                            AU              02:00
           0_6_'17_ry*_
                                  _{rL1*Si          glllglg9:ll
                                  (u']_3--44.:_qgg? cHrcAGo,rL
                                                                                                          AU              34:00
           _01?:l!_T.         -                                                                           AU              di,oo
           9z,s?   q, " irgl1fr!:C?il ronisi,ll                                         .            _-.^u       " .,,    oi no
           98i1lp-r               _(r-9-l_11*-0919_ gt1ig,4gg,!L                                          lu              0l,oo
           08:45   pm              (773)   746-0343                 lncoming                              AU              03:00
Nov   18   0_e:10_am
                          .       ..[S]f_9_7":9999                  lrcomins                              I!YAU           9r9-0
           pji;_* iisutj_qe'                          _,-"91* ,qji                                        I\M,/AU         01:00

           U:ry*lT--                                                                                      NWAU            01:00
                              --qo8ll9Lfl99-                        lt9Tite-
           1107am (&\922,-@77                                       lncoming
                                                                                                     ,    NWAU            oi,oo
           gljllpt                 gt-E-)-il-_4€99?-. h-.ryils                                            t!yltll         93:P
           9?:_1l]?!I _.          "
                                    g08l!Z_4:qw?           ..   ]ngoTgg                                   NWAU            01;00
           02:30pm         _      _(888)!11;!zj ltqllq                                                    Nw/AU
                                                                                                                          -o-'liqg
           0.?:99!I
                   - -!21"3{-{9-6? . -9!19190,!!                                                                          -0:199
           9l!.!PI_-,.9F)!1_1_6-S? t-AGRANGE,TL                                                           Nw/AU
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           ojio"l.111              !ii.t")_-s3a:r9.9i_ _, _         iligr;g-o:it        _    _
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           01i11 p_T
                         .        "(f1!4*€.921 .
           0J3l PI!...*_gpl*3-f:999.?.
                                                                    K1SI["14,EF,*,_                       Nw/AU           oi.oo
                                                                    tncomins                                             : o!:09
           04:45   pm l4o7't92-@77                                  KISS|MMEE,FL                          Nw/AU           9_t:99
                                _ _ !1-sglMFF,fL
           99,9?,et -*(o193:992I-                                                                                         02:00
           9-i,9-3-p'.
                         -,-9,99-)j1t953?-
           .0.?:1!pI* ll9rs.ll-ggg"?.
                                                       -            l+ g!ll!S,E+
                                                                    LAGRANGE,TL
                                                                                                          ltvl-4il
                                                                                                          htvt/ u
                                                                                                                          o:-,99
                                                                                                                          01:00
           9_B141u_               _gl_s"1l$:9!jC-:,                    19a9o.j1_,           _-
                                                                                                     -    Nw/AU
                           _.                              ---9.1                                                         9ii99
Novls !9i99.3T _j3-1?.1t9!-{ ll9,nl-s*                                          .
                                                                                                          Nw/AU
                                                                                                                          91i99
           t 1i1$n _ _-g!-?_,4-1 l-"_s.qp- _ _ c-H!gicg,l!                                                Nyllll          o-!;09
           lI3-011"..__(x1a.fl1-Fry=                            ]lgr.,lq
                                                                gl"Lq4g-o-r!
                                                                                        .                 !ty-v_/AU       -0-!,99
           1?il!_.p1._ e1_?J1*9150.                                                                       r!ryA!l         o1'99
           I2:58_p*3 !U9l.lf:ggf    c,!1!-c.lgg,!!,
           01:00 pm (888) 811-5279 Toil FrEe Cail
                                                      "                                                  .lty.{3!1        91"00
                   *(zsi6?&aeo6- * -6Hidico,il
                                                                                            - -"iiiwnJ '
                                                                                                          Nw/AU           05:00
           osseil-                                                                                                        oi,oo
           os:9!m __(?_lL9_78:9909 hp.litg                                                                T.IWAU          08:00
           9-3,l1pg_ !r-9_819ZtfI-+_ LAGBANGE,TL                                                          llw-/{\l        o!,oo
           99j_09ry- .(r/l)-7-f.:-09-4_9_ c,H!c4Go,rL                                                     NWAU            0_t:!p
No,   io   91i_s"9:t!t_. ,_ (7-9.)           !ryoming
                                           719*{_3Jl                                                      AU              01:00
           99j9_5,fl_ . gfll_Wll$_ rncomins                                                               AU              01:00
           qq,!-q"3a_ .11it-16_e:7_qlq--
                           .-            : - iH rcAco:! t                                                                 or.oo
           !_q3l_31_*(-f.1_??,J4-]] _ rncomins                                                                            0300
                        ggO"ooo"-.1*s_tg_-r^GdiNci,,i     -
           t-gi-srqr_                   - gll-clgg,!!
           1:1,:I9_3t1_ -l?-9l116igl'q_._                                                                 AU              01:00
           1339"u'-919?:-9921. --.-lt*rils,--                                                    .        lu              oe,,!0
           12:36pm (888)811-5279 TottFreeCa[                                                              AU              o:1'99
           12:36 pm (888) 811-5279 Totl Free Ca[                                                          AU              01:00
           12:91_p, (ryL8llf.?1e rorlFre€ cal                                                                                                                 RateType
                                                                                                          AU              0L'00
                                                                                                                                                              AU   Anytime/Plan Usage
           1r-.s?.pr !*qj!:galt_-   rc,ii.i',8€C;ii
                                -"-*ril;ins                                                               AU              01:00
           o1p9,pe            .   _12_91-9.y-o-1iii                                                       AU              oToo                                i,lllV Nighr and Weekands


Call Details -   (nq       297-6519 - Voice continues.,
                 Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 66 of 76 PageID #:66
                                                                                                                           A13 ol 18
                                                                                                                           Account Number: 1 521 27 837
                                                                                                                           Bill Period: Nov 03 - D@02,2017


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Call Detalls - (773) 297-6519 - Voice ...continud

On At                       To/From               Desilnatlon                       Rale              lllns         Cost
         _0_1"l3-6-p!l,.-,-ffq"9?!:F$_ "          l$9n$_ ..       -             .-c_\rylA,u-...   -   q9:ry".
                             =-Uptrtns-_ lll
         -03i$-P'n--_@92-t"899- "                                                                     -0?t0!^
         9?it!1* -qtr)-931:P99 9!--Y!!1I-+ -{u-                                                       0?i0o

         9_9:l_9s'"         trl)_619:f9l          91119199,!!                                         o1:W
         99::!9!9 .(31-99-?:S-19                  glrlgfcorlL-                      AU                95,00
         03:19pm (708)574€532                     lncoming
                                                                                                      9l o0
                                                  c-111c199-,1!                                       04{xl
         93:1-9?l!
         o-qinPe-
                        ---(7i.L9g:Sl9                                                                01:00
                           -(g-6).91?4117         I!Fy,YPBI:NY
         Pi1lry, I119t""lY7l?
         03:56pm (708)921-8255  lncoming
                                                  fcoring    ".            .        lY
                                                                                    AU
                                                                                                      .0?09
                                                                                                      -0-1s0
         S,46PT _{I91"-9S:P.9 _ IPrniH .                                            AU                02:00
         05:11pm (rrc)440-0651                    CHICAGO,IL
                                                                                    l9                17o_9
         05:25   pm            921€255
                            (708)                 lncoming                          CWAU              01 :00
         os,z]   p,         pootstiazss           sur'ruir,u-                                         icoq
         95:q1.p-T-__      lnq_Z$:99-a_3             tc-{q9,L                                         02:00
                                                  -c,f
         Sip_Pg- g-]29:9-919_-                    r^*ngs-                           AU                9! o0-
         8.26!n,_leP)l|/-!SQo_ _ -ro!!9e catl                                       AU                01:00
         oji3J_er._ _991"L199_qf_ 9l!19190rh                                                          03:00

         S:B!,     _qry1""-7ff!43 Ip_n!$_                                           AU                oioii
         .oJ.?Itr, _w_3)7J&q919                   g-Utgtgg,lL                       AU                oioo
         gll9jtn.,..-Fl_q)-3_1_-7s19 lcorlng                                                          02:00
         08:31   pm         (7rg)   746-0343      Cl{lCAGO,lL                                         04:@
Nov   21 qj9*gT      ,_-   "_g!.1_-93-8255        lncomins                          Au                o-Q,90

         07:10   am         (770)   7E9-8416      lncoming                                            16:00

         97,:?j*3I]"' -!Nn2_aI:919-0             .]npnry                       .. .ll/
         9-ryt:r_ _ (uQ_z11S_19 _. 9l9l99,rl                      .            _    Aq




         P-i16-anl _1I99-1F:9-I1-?_ oAK FoR          AU      so,rL
         9rg T'_*- _qgjjgt*_qi_ _ _i.11a1ca-Hjsr_ _, 10                                               0200
         SiS3T,- -l?.1?19"12:P1.6- .- -clt949,o:!L _{q                                                02s0
         lqilggr _. qql.9?9:_+-90:!-              lpllilg
                                                     l_u,
                                                  tlco_rys,
                                                                                                      OJPO

         t2i93q! _ _f/-9,E-)"9?*LBi-5        _                                      4u*               0-!,"09

         !3i-4,0_.eT.   -        Fcoshg , lu-_
                            l3:!,2)-?11"f7-9."q                                                       0?0i
         91.27q9r _g.q8l911$g_ lncomins       AU                                                      10:00
         01:29 pm (708) 92I-E255 lncoming      CWAU
         oi iip.
                                              -au                                                     01 O0

                   iioefgzr:azss duur.,tlr,il                                                         0s:00
         91iP-P$ - --12-0*t999:1tr9 - -S*9!l!!9E_,lL                            "   AU- -- - -.-oioo
                                                                                                02:00
         0.?i0_2_p9
                     "gz3-ll-11-o!f ..-q!1 lg9.ll:                                  lti
                                      cl-{1c,499,!!
         -0-?".91!r*_lE)l19r9q{
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                                                                                    lu'.              91 i09
         9?:19.Pn._-_(8819_1'!:s3!_e              tn-!!ts                           AU                0t o0
         94il]_pf           -q_0.811e_69i9   .    ryvEBlrD_-E{L                     AU *          '   02:00
         o+:so   pg                 9S:-5-901. llpBits                              eu"-              osno
                                                                                    AU- - -
                            _Fo9)
         05:21   pm       988-5301 lncoming
                            (708)                                                                     04,00

         9s;9.9qT ._1rara&r.*,               -
                                         CHrc4goj!,
         o.8_iqpm (|_q).97_e:1_e-'!_s, _ ltp_Ii1g,. _
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                                                                                    AU
                                                                                                      9a,09
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         EIL4_!T           *9f]Ij91*3J-3          cl1l9l99,ll:                                        9s,00
Nov22    9l:9?.fl _ \71p"1le"0€13                 qUcAGo,lL                                           9I.0.9
         07:03 am (404 947-9400                   lncoming                                            11'O0
                                                                                                                                              Rate Type
         07:OB   am         (rrc) 7116-0343 lncoming                                                  o]:o-9
                                                                                                                                             AU   Anytime/Plan Usage
         9li113l=- jlts111t934s-- . 9!:!l-cl9o,lL                                                     02:00
         q1.2e"T _ 1U-1)l$:-0-11"? clll_c{qg,L                                                        or bo                                  CW CallWaiting


Call Detalls - (773) 297-6519 - Volce antinues...
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                                                                                                                                           Account Number: 1 521 27 837
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Catt Details - (773) 297'6519'Voioe ...continud

        At                    To / From                D,Bstlnatlon                 Rate                   iilns                    Cost

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        11:15am (708)921€255                            SUMMIT,IL .lY                                      02:00
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        0-?i?_4_p.T.                                                                                       oi oo
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         02:5!_pj! __--{1_7,Q!-*tr- .. 9ftl9-199'!!' - .-4y                                                92-,ry
         ot'o9gn "..          (fql?$fl9                 9l!!9199{1          -        4Ll
                                                                                                           01     00
          04i19-m..!?l-1lJj9.,..ff9.gll-clgg,lL                             -        lu-                   06:oo

          oe_n.rr*
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                              (7*3)-91-s:191!_.         llPrlry                      Ag       ..           98so             .


          oo,l!m_          . !1"?-9).I_4_s-0!19         9t1l9l9_o,!L "lu..                                 9209         .


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          13.i1"!n -.-q""98)91ry-?-
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          03,99ry, : gQqgJg?-s*                             9PTilg
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          os,pg11 .,fl-s_[-46.034il                                                   AU                    9lso
          o3;?pm.. .(7r3-l]1!fE*'                  -   -i@'s           "_..'.   - . *.",.,..                02:00

          01'!-0-P-a-                .
                               q.QlelFg                     9ll9l99{l               AU                      q?,oo
                                                                                                            0?i99
          giil?PT .-  ,(?-91,299:4S9 -                      -cHl9499,lt-            -*.-,-'                                     _


          0!.12*ps-.-                                                                 AU
                               11P)9114197         ""       SqllllgF,lL             -AU        .             919j-
  Nov24 O935am (708)921'8255                                lncoming                                         06:90

           iijor-"' _-:dtri_af*+_6is, "                -,
                                                            un   ep1gqL               4il                    91,90-
           11t27.ffi . !ns)116_{_913- g}rl_clgo,l!                          .
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                  _,r(z.3Ll-1*99r,3 9fll9l99,ll:
           11j9:!.am                                                                - A.U-
           11:rt4am (E15)341'7949 JOLIET,IL                                           AU                     0200
           irso      t,
                      iioaifi;i2s2 FoCesi'r[                                          AU                     oi,oo

           133.0-pI_, 119_81-26:9?93. EgotrnS . "l-u- .                                                      0L'00.
           11:31 p-A , -r0q97t_4,191- tAgiANgF,l! lu          -                                              01,90

           0lt9.1.ern _ g79u-19{-1f - 9lr'l-c-1c9,1| . lu.                                                   01;00

           o!.34pn". l?_3-)"7_1H113 clllc4corlL . ly ..                                                      0-1:0.0

           or?,9 fr    .12191.?16-4943 !*rlr           .l.u-                                                 0690
           o?:Ipt .j{3l|_19_{-943 9!1!c-199,!! 49                                                             os,!o.
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           o4ilqPr-\7_3)_!f!u_3
                        1?ll9S:?-03.9. !!o'll-|lqnoo[!! ,ly . -                                              -0?:00-
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                                (312)   82&9919              CHICAGO'IL                AU
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             9!.zs
             0_5j*3-p9 979)119--0!43, lncojnils                                         AU                      0600


  Call Details - (773) 297'6519 - Voice continws...
                   Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 68 of 76 PageID #:68



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                                                                                                      Account N u mb er : 1 521 27 837
                                                                                                      Blll Period: Nov ff! - Doc 02, 2017


Sprinf

call Dotalls - (773) N7$519 - Voice ...continud

On At                     To/From             Dec0natlon       Bate    Mlns                    Gost
                                                                       01:00

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           01i,1zpm. _{1,F-19-?'tgis-
           0400pm (708)958-its99 lncoming
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Nov   28   0751    arn     921€:155
                          (708)               SUMMIT,IL                01:@

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                                                                       05:00
                                                                                                                           CW Callwaiting
                                                                       oi:oo
                                                                       01:00
                                                                                                                           NW Night and Weekends


Call Details - Wg) N7-6519 - Voice continues...
                   Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 69 of 76 PageID #:69



>                                                       Contact Us                                                     1of     5
                                                  trI   sprint.com/contactus   L (-2kom
                                                                                   1-888-211-4727
                                                                                           your Sprint Phone)
                                                                                                                       Account Number: 1 521 27 837
                                                                                                                       eiti ieriod::D;c og'- Janiii EoJB

Sprinf


  Last Bill                                                                                                        Total Amount Due

  Previous Total Due                        $170.01

  Payments - Thank you!                    -$341 .01


  Balance Forward                        -$171.00
                                                                                                                   Let's talk
                                                           Government Taxes & Fees                                 about this bil!

                                                                                               $172.18




ffi   Pay online
      sprint.com/mysprint
                                 L-   P"ybyPhone
                                      1-800-784-2608
                                                                     SK    P"y by Mail
                                                                           Retum the form below with
                                  '   (-3 from your Sprint Phone)          a check payable to: Sprint


Please see   tlp   News and Notices section on page 2 for important information and changes to Sprint's
policies.




                                                                                                               Detach and return this remittance form with your payment.
      PO Box 629023 El Dorado Hills, CA 95762
                                                             Ef,TE
                                                             ffi
                    -{s                                                                                 Make check payable to Sprint in U.S. dollars. DO NOT SEND CASH.
                                                                                                                                             Account Number 1 521 27 837


      Sprin$                 "
                                                             Scan to pay         Amount Due by Jan 26                           iiirijllllrii:,:ii,iii jiiiq{ ili   $-l   .   tt   g,

                                                                                         Amount Enclosed




                                                                                         EDWIN GARCIA
      P0 Box 4191
      Caro1 Stream,         IL   60197-4191




       15e14?83? 0l0l001,?e1g 0800081,710n0 0n0000n0r187
                   Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 70 of 76 PageID #:70
                                                                                            AB ol 22
                                                                                            Account Number: 1 521 27 837
                                                                                            Bill Period: Dec 03 - Jan 02,2018


Sprinf
Call Details - (773) 297-6519 - Voice ...continued

On      At              To / From          Deslination            Rate    illns      Cost
         10:51  am      (n3\6764367        CHICAGO,IL             AU      05:00
         1106am         (708)595-5527        lncoming             AU      02:00
         1I :34 am      (708)   595-5527     LA GRANGE,IL         AU      02:00
         11 :37 am      (7731746-0343        CHICAGO,IL           AU      01:00
         1226 pm        (708)   465-0s78     OAK FOR SO,IL        AU      01:00
         12:44pm        (708)200-1588        LAGRANGE,IL          AU      03:00
         o122pftt       1773\7464343         CHICAGO,IL           AU      03:00
         01:27 pm       (773)   344-6962     CHICAGO,IL           AU      01:00
         01:32 pm       (7'73)302-1716       lncoming             AU      04:00
         02:02   pm (rrc),|40-0651           CHICAGO,IL           AU      01:00
         02:05   pm     (773)   494-6s8s     CHICAGO,IL           AU      02:00
         02rs pm        (Un 47A-25o8.        SKOKIE,IL            AU      03:00
         02:15 pm       (7731 302'1716       lncoming             CW/AU   08:00
         02:35 pm       (678) 416-6362       Incoming             AU      01:00
         02:36    pm    (678)    416€362     NEWNAN,GA            AU      04:00
         02:53 pm       (678) 416-6362       lncoming             AU      01:00
         03:00 pm       (678) 416-6362       NEWNAN,GA            AU      02:00
         03:07 pm       (773) 746-0343       CHICAGO,IL           AU      02:00
         03:09 pm       O73) 302-1716        CHICAGO,IL           AU      01:00
         03:10 pm       (773)7464343         lncoming             AIJ     03:00
         03:13 pm       (708) 455-0578       lncoming             AU      02:00
         04:53pm        (708)595-5527        LAGRANGE,IL          AU       01:00
         04:54 pm       (773)7464343         CHICAGO,IL           AU       02:00
         04:58 pm          574€532
                        (708)                LA GRANGE,IL         AU       02:00
         05:01 pm    \773\7444378            CHICAGO,IL           AU       01:00
         05O4 pm     (708) 574-6532          LA GRANGE,IL         AU       01:00
         05:07 pm    (773\ 302-1716          CHICAGO,IL           AU       01:00
          0520    pm (773) 507-5301           lncoming            AU       02:00
          05:32 pm       1773\302-1716        lncoming            AU       01:00
          06:58 pm      574€532
                         (708)                LA GBANGE,IL        AU       02:00
          07:00 pm(708) 574-6532              lncoming            AU       01:00
          08:4Qpm (708) 574-6532              LA GRANGE,IL        AU       02:00
 Dec05 O7:41am (770)789-8416 ATLANTANE,GA                         AU       02:00
          08:12am        (773)    507-5301    lncoming             AU      02:00
          08:31  am      (770)789-8416 ATLANTANE,GA                AU      01:00
          08:44 am       17731302-1716        CHICAGO,IL           AU      12:00
          09:06 am       (773\302-1716 CHIGAGO,IL                  AU      01:00
          09:20 am
                   -     (773)7464343 CHICAGO,IL                   AU      01:00
          09:21 am       (708)481-8063        OAKFOR      SO,IL    AU      01 :00

          09:21 am       (708)s81€063         OAK FOR SO,IL        AU      01:00
          09:23 am       O73) 746-0343        CHICAGO,IL                   02:00
          09:25 am       (773)746-0343        CHICAGO,IL           AU      03:00
          09:32 am       (708) 465-0578 OAK FOR SO,IL              AU      01:00
          09:39 am       (708) 465-0578 lncoming                   AU      01:00
          09:53 am       (773) 469-7670 lncoming                   AU      01:00
           10:02 am      (773\746-0343        CHICAGO,IL           AU      02:00
           10:45 am      (773\7&-0343         CHICAGO,IL           AU      02:00
           11:31 am      (708\277-3829        lncoming             AU      04:00
           11:38 am      (770) 789-8416



                                                                                                                 Rate Type
                                                                                                                 AU   Anytime/Plan Usage
           12:02   pm     (900)   712-6600    Toll Free   Call     AU       01:00
                                                                           l9,oo    , S                          CW Callwaiting


  Call Details - (773) 297-6519 - Voice continues...
                Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 71 of 76 PageID #:71



>
Sprint
                                                Ei
                                                     Contact U3
                                                     sprint.com/contactus    L     1-888-21'.t-4727
                                                                                   ('2 lrom your Sprint Phone)
                                                                                                                        1of    5
                                                                                                                       Accourfi Number:'l 52127837
                                                                                                                       Bill Perlod: Feb 03 - Mar 02, 2018




   Last Bill                                             This Bill                                                 Total Amount Due
   Previous Total Due                     $173.36        Account Charges
                                                                                                  118:84
   Payment on 02yr8 - Thank              -$174.00        elans a   e11y"n:                       $137.09
   youl
                                                         Scrnt nrgmilm Servles                        $9,99
   Balancs Fotward                        -$0.64                                                                   Let's talk
                                                         Sprint Surcharges                            $t';         about this bill
                                                         Govemment Taxes & Fees
                                                                                                                   Visit wwwspdnt.com        br   a complete view of
                                                                                                                   accounl activity.
                                                         Total Charges this Bill              $182.17




                                                                                                                         Last hrce monhs (nau charges)
      P"y   Onltns
El sprint.com/myspdntL             P.y by phone                    EK   P"v by Mall
                              --   1-800-784-2608                       Retum the form belowwith
                                   ('3 trom your Sprint Phone)          a check payablg to: Sprint


Please see tfle NEvta and Notices section on pago 2 for important lnformation and changes to Sprint's
policies.                                                                                                              Jan                Feb            This month




     P0 Box 629023 El Dorado Hills, CA 95762                                                                  Detach and return this remittance form with your payment.
                _13




                                                          ffi
                                                                                                       Make check payable to Sprint in U.S. dollars. D0 NOT SEND CA5H.
                                                                                                                                            Account Number 1 52127837


     sprint)"                                            Scan to pay          Amount Due by Mar 26                                                            .53

                                                                                       Amount Enclosed




                                                                                      EDWIN GABCIA
     PO Box 4191
     Carol Stream,      IL   60197-4191




      15e1e7837 U0088018e1? Et100EB000h'{E uu000ul,gl,53t
                     Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 72 of 76 PageID #:72



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Sprinf
                                                                                                                                  A15 of 20
                                                                                                                                  Account Nu mber: 1 521 27 837
                                                                                                                                  Bill Period: Feb 03 - Mar 02, 2018




Call Detalls - (773) 297-8519 -           Vole...affinud
On At                        To/ From                    Destlnatlon                    Bile                    lllnc      Cost
         1_0!o_31_Cplq1p-81 __                           lncoming
         10O3am (708)574-{197                            tAGRANGE,|L                    AU

        199?'t'_             lBEsz-qE           ..       gL_EM4I_Eif!                                           01dD
        19.-og:r=_           -E9l.1glg1 - -gll_c"lco,l!_.                               AU
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        !l48g- _t!al.f0-2lt*-_ __!*T!ns                               ___
        11   am (ZE) 574-{197
             :30                                         lnooming                       Cw/AU
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                                                                                                                1100
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        99!?-p!-*- (3!?*9ri89 .. *9!t9t@{! " _tg                                                                9r    !9
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        91lp!f-**-ga).9El11-6                     rncomins                              AU                      0600
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        -t1?9:I "-*(IEllry3?I ".*1!p4!s.. .__
        11   :29   am        (779)    87$3594            JOLtET.tt
                                                                                        AU
                                                                                                                                                     Rate Type
                                                                                        AU                      01 d)0
                                                                                                                                                     AU Anytim€/Plan   Usags
                                                                                        AU                      0't   o0
                                                         rnoomrns                                               01{)0.{                              CW Callwaiting
        9"2j1-1-!t_,_.-E?_|3119S--
        02:2l      pm (708)574-4197                      LAGMNGE,IL                                             03:00                                ItW Night and Weekends

Call Details - (773) 297$519 -            Voia mntinues...
      Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 73 of 76 PageID #:73




            Office of the Secretary of State Jesse Wtrite
                                        COM



Corporation/LLC Search/Certificate of Good Standing

LLC File Detail Report



  File           00540846

  I':o"i
  Entity         NATIONSTAR MORTGAGE LLC
  Name

  Status         ACTIVE




 Entity lnformation


 Principal 0ffrce
 8950 CYPRESS WATERS BLVD.,
 DALLAS, TX 7501 9

 Entity Type
 LLC


 Type of LLC
 Foreign

 Organization/Admission Date
 Wednesday, 11 April 2001

 Jurisdiction
 DE


 Duration
 Friday, 31 December 2100
  Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 74 of 76 PageID #:74



Agent lnformation


Name
ILLINOIS CORPORATION SERVICE C

Address
801 ADLAI STEVENSON DRIVE
SPRINGFIELD , IL 62703

Change Date
Friday, 31 October 2003




Annual Report


For Year
2019

Filing Date
Tuesday, 12 March 2019




Managers


Name
Address
BRAYJAY
8950 CYPRESS WATERS BLVD
DALLAS, TX 7501 9

Name
Address
MARSHALL,CHRISTOPHER
8950 CYPRESS WATERS BLVD
DALLAS, TX 75019




Assumed Name


ACTIVE
MR. COOPER
              Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 75 of 76 PageID #:75



          ACTIVE
          GREENLIGHT LOANS

          ACTIVE
          CHAMPION MORTGAGE COMPANY

          INACTIVE
          CENTEX HOME EQUITY COMPANY




          Old LLC Name


          06/30t2006
          CENTEX HOME EQUITY COMPANY LLC




          Series Name


          NOT AUTHORIZED TO ESTABLISH SERIES




           Return to Search


           File Annual Report
           Adopting Assumed Name
           Articles of Amendment Effecting A Name Change
           Change of Registered Agent and/or Registered Office


                                                                                                       (One Certificate per Transaction)




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     Case: 1:19-cv-07870 Document #: 1 Filed: 12/02/19 Page 76 of 76 PageID #:76




                                CERTIFICATE OF SERVICE

I hereby certify that I have on D& oZ ,2olg served a copy of the foregoing
                                                                                       complaint to
 all the defendants which has been filed with the Clerk of the United States
                                                                             District Court for the
 Northem District of Illinois, Upon the Defendants via Service of Process
                                                                            with the cook county
                                                                                   in the County
    Sheriff Department or the US Marshall and the other Defendants were served
                    Sheriff Departments where the business entities are located.




DArED      tzf o2/ zotf

EdwinGarcia     %                  //-+
5179 Elmwood roa6
Oak Forest,lL 60452
(773) 297-6ste
Edwingarcial 98 1 @Yahoo.com




                                                                                                      &
